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     EXHIBIT A TO KING DECLARATION:
         Second Amended Complaint
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                                                             The Honorable Myron H. Thompson




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION




MUSCOGEE (CREEK) NATION, a federally recognized Indian
tribe, HICKORY GROUND TRIBAL TOWN, and MEKKO
GEORGE THOMPSON, individually and as traditional                      2:12-cv-1079-MHT-CSC
representative of the lineal descendants of those buried at Hickory
Ground Tribal Town in Wetumpka, Alabama.                              SECOND AMENDED
                                                                      COMPLAINT AND
                                    Plaintiffs,                       SUPPLEMENTAL
       v.                                                             COMPLAINT

POARCH BAND OF CREEK INDIANS, a federally recognized
tribe; STEPHANIE A. BRYAN, individually and in her official
capacity as Chair of the Poarch Band of Creek Indians (“Poarch”)
Tribal Council; ROBERT R. MCGHEE, individually and in his
official capacity as Vice Chair of Poarch Tribal Council; EDDIE
L. TULLIS, individually and in his official capacity as Treasurer
of the Poarch Band of Creek Indians Tribal Council;
CHARLOTTE MECKEL, in her official capacity as Secretary of
the Poarch Band of Creek Indians Tribal Council; DEWITT
CARTER, in his official capacity as At Large member of the
Poarch Band of Creek Indians Tribal Council; SANDY
HOLLINGER, individually and in her official capacity as At Large
member of the Poarch Band of Creek Indians Tribal Council;
KEITH MARTIN, individually and in his official capacity as At
Large member of the Poarch Band of Creek Indians Tribal
Council; ARTHUR MOTHERSHED, individually and in his
official capacity as At Large member of the Poarch Band of Creek
Indians Tribal Council; GARVIS SELLS, individually and in his
official capacity as At Large member of the Poarch Band of Creek
Indians Tribal Council; BUFORD ROLIN, an individual; DAVID
GEHMAN, an individual; LARRY HAIKEY, in his official
capacity as Acting Poarch Band of Creek Indians Tribal Historic
Preservation Officer; PCI GAMING AUTHORITY d/b/a WIND
CREEK HOSPITALITY; WESTLY L. WOODRUFF, in his
official capacity as board member of the PCI Gaming Authority;

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STUART MARK ALTMAN, in his official capacity as board
member of the PCI Gaming Authority; VENUS MCGHEE
PRINCE, in her official capacity as board member of the PCI
Gaming Authority; TERESA E. POUST, in her official capacity as
board member of the PCI Gaming Authority; TIMOTHY A.
MANNING, in his official capacity as board member of the PCI
Gaming Authority; MARTIN CONSTRUCTION, INC., an
Alabama Corporation; THE DEPARTMENT OF THE
INTERIOR; TARA MACLEAN SWEENEY, in her official
capacity as Assistant Secretary of Indian Affairs; DAVID
BERNHARDT, in his official capacity as Secretary of the United
States Department of the Interior; DAN SMITH, in his official
capacity as Acting Director of the National Park Service; and
AUBURN UNIVERSITY;

                              Defendants.




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                                         INTRODUCTION

       1.      Defendant Poarch Band of Creek Indians (“Poarch”) acquired Hickory Ground, a

sacred historic site of the Muscogee (Creek) Nation that is located in Wetumpka, Alabama. Poarch

claimed it was buying this culturally significant site to protect it from development and repeatedly

promised to preserve it. Poarch broke those promises and desecrated the holy site, removing over

57 bodies of Plaintiffs’ ancestors and thousands of sacred artifacts to build a casino with the help

of a Poarch tribal member-owned construction company. The other Defendants violated statutory,

common law, and contractual obligations when they failed to stop Poarch from paving over this

important historic site and traditional burial ground. Plaintiffs seek redress for this greedy, tragic,

outrageous, and illegal act.

       2.      Hickory Ground is a parcel of land located near Wetumpka, Alabama. It is sacred

to the Plaintiffs: it is part of the Muscogee (Creek) Nation’s aboriginal lands, the location of the

Muscogee (Creek) Nation’s last capital before the tribe was forcibly removed from Alabama, and

is a historic ceremonial ground and burial site. Direct ancestors of the current members of the

Hickory Ground Tribal Town lived, died and are buried there.

       3.      Poarch obtained Hickory Ground using federal preservation grant funds under the

pretense that Poarch would protect the site from development. The site has been listed on the

National Register of Historic Places since 1980.

       4.      In its application for the federal funds, Poarch represented to the Muscogee (Creek)

Nation, the federal government, and the Alabama State Historical Commission that Poarch would

use the funds to purchase Hickory Ground to save it from being developed, and that it would

protect the site “without excavation.”

       5.      Poarch then excavated Hickory Ground to make way for a $246 million casino

resort called Wind Creek Wetumpka. Poarch exhumed at least 57 human burials and mistreated
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the human remains. Some remains, and numerous archaeological artifacts have never been

reburied and are being mishandled and improperly stored by Poarch and Auburn University.

       6.      Poarch’s construction of a casino over the Plaintiffs’ sacred burial grounds, its

removal of the Plaintiffs’ ancestors from what was intended to be their final resting place, and its

mistreatment of the remains and artifacts has caused, and continues to cause, harm to the Plaintiffs,

in violation of the laws of the United States and Alabama.

       7.      Statutes and contract impose upon the Department of the Interior (“Interior”),

including the Bureau of Indian Affairs and the National Park Service, and their respective officials

(listed in Paragraphs 26 to 32, infra) (collectively the “Federal Defendants”) obligations to protect

Plaintiffs’ rights, including but not limited to duties to provide notice and consultation and obtain

consent prior to allowing such damage to occur.

       8.      Poarch and its officers and agents, including the third parties it hired to conduct the

excavation of Hickory Ground and construction of the casino resort, also have statutory,

contractual, and common law duties to protect Plaintiffs’ rights and to avoid damaging their sacred

burial grounds.

       9.      Poarch has been unjustly enriched and continues to be unjustly enriched as a result

of its wrongful and unlawful conduct. The actions of all Defendants have caused, and continue to

cause, irreparable harm to the Plaintiffs, who bring this lawsuit to remedy past damage and stop

further damage.

       10.     Poarch promised to preserve the sacred Hickory Ground site forever. It should be

held to its word.




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                                         THE PARTIES

Plaintiffs

       11.     Plaintiff Muscogee (Creek) Nation is a federally recognized Indian tribe based

in Oklahoma, with over 87,000 tribal citizens. Before its people were forced to move to Indian

Territory (now Oklahoma), the Muscogee (Creek) Nation existed as a confederacy of Tribal Towns

throughout what is now the southeastern United States. For thousands of years before non-Indian

contact, they inhabited what is now Alabama.

       12.     Plaintiff Hickory Ground Tribal Town is a traditional Tribal Town and ceremonial

ground of the Muscogee (Creek) Nation that is now located in Henryetta, Oklahoma. Before the

Muscogee (Creek) Nation’s removal from Alabama, Hickory Ground Tribal Town was located

in what is now Wetumpka, Alabama.

       13.     Tribal Town membership is matrilineal. The members of the modern Hickory

Ground Tribal Town are directly tied historically, culturally and lineally to Hickory Ground in

Wetumpka.

       14.     Plaintiff George Thompson is the chief (“Mekko”) of Hickory Ground Tribal Town.

He has held that lifetime position for 42 years. He is a citizen of the Muscogee (Creek) Nation

domiciled in Oklahoma, and brings this suit individually and as the traditional representative of all

the lineal descendants of those buried at Hickory Ground under the Muscogee (Creek) Nation

traditional matrilineal Tribal Town kinship system.

       15.     Under Andrew Jackson’s direction, the United States forcibly removed the

Muscogee (Creek) Nation and its Tribal Towns, including Hickory Ground, from Alabama in the

early 1800s. Some Creek individuals (often individuals of mixed heritage not living in tribal towns)

helped Andrew Jackson fight against their brethren in Alabama, and in exchange they were allowed

to stay in Alabama, on the condition they renounce their tribal citizenship, as all tribes were to be
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removed from the area.

Poarch Band

       16.     The Poarch Band is a group that was first recognized as an Indian tribe by the

United States in 1984, after claiming to descend from a “settlement of ‘half-bloods’”1 who lived

in Tensaw, Alabama.

       17.     This group was not, and is not, a Muscogee (Creek) Tribal Town.

       18.     The Muscogee (Creek) Nation did not, and does not, have “bands.”

Poarch Council Defendants

       19.     Defendants Stephanie A. Bryan, Robert R. McGhee, Eddie L. Tullis, Charlotte

Meckel, Dewitt Carter, Sandy Hollinger, Keith Martin, Arthur Mothershed, and Garvis Sells are

members of the Poarch Tribal Council and officials of Poarch (the “Poarch Council Defendants”).

They are sued in their official capacities for violations of federal and state law for which Plaintiffs

seek mandamus, declaratory and injunctive relief. Certain Poarch Council Defendants are also

sued in their individual capacities. See infra ¶ 24.

PCI Gaming Authority

       20.     Defendant PCI Gaming Authority is a commercial enterprise of the Poarch Band

that is at least partly responsible for the gaming development and operations at Hickory Ground.

       21.     PCI Gaming Authority is the principal gaming entity of the Poarch Band, and runs

the Wind Creek Casino and Hotel Wetumpka.

PCI Gaming Authority Board Defendants

       22.     On information and belief, Defendants Westly L. Woodruff, Stuart Mark Altman,




1 The outdated term “half-bloods” in this excerpt from Poarch’s petition for federal recognition
refers to individuals who possessed half Indian, half non-Indian blood as of the mid-1800s.
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Venus McGhee Prince, Teresa E. Poust, and Timothy A. Manning (the “PCI Gaming Authority

Board Defendants”) are members of the PCI Gaming Authority Board. They are sued in their

official capacities for violations of federal and state law for which Plaintiffs seek mandamus,

declaratory and injunctive relief. Timothy A. Manning is also sued in his individual capacity. See

infra ¶ 24.

Poarch Tribal Historic Preservation Officer

       23.     Defendant Larry Haikey is the Tribal Historic Preservation Officer for the Poarch

Band of Creek Indians (“Poarch THPO”). He is sued in his official capacity for violations of

federal and state law for which Plaintiffs seek mandamus, declaratory and injunctive relief.

Individual Defendants

       24.     Defendants Buford Rolin and David Gehman are former members of the Poarch

Tribal Council and are sued in their individual capacities for the tort of outrage that they personally

committed against Mekko Thompson. Defendants Stephanie A. Bryan, Robert R. McGhee, Eddie

L. Tullis, Sandy Hollinger, Keith Martin, Arthur Mothershed, Garvis Sells, and Timothy A.

Manning are also sued in their individual capacities for the tort of outrage that they personally

committed against Mekko Thompson. The defendants referred to in this Paragraph are collectively

referred to as the “Individual Defendants.” Mekko Thompson seeks equitable and monetary relief

from the Individual Defendants for outrage.

Martin Construction, Inc.

       25.     Defendant Martin Construction, Inc. is a corporation organized and existing under

the laws of Alabama, with a principal place of business at 110 W. Louisville Avenue; Atmore,

Alabama 36502.




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Federal Defendants

        26.     Defendant United States Department of the Interior is responsible for

administration and management of federal lands, historic places, and Indian Affairs.

        27.     The National Park Service and Bureau of Indian Affairs are agencies of the United

States government, within the Department of the Interior. Among other things, the National Park

Service administers and oversees historic preservation grants and delegations of historic

preservation responsibilities. The Bureau of Indian Affairs is responsible for, among other things,

administering and overseeing archaeological activities on Indian land and taking land into trust on

behalf of Indian tribes.

        28.     Defendant Tara MacLean Sweeney is the Assistant Secretary for Indian Affairs

within the Department of the Interior, and is sued in her official capacity.

        29.     Defendant Dan Smith is Acting Director of the National Park Service within the

Department of the Interior, and is sued in his official capacity.

        30.     Defendant David Bernhardt is Secretary of the United States Department of the

Interior and is sued in his official capacity.

        31.     Collectively, the Defendants listed in Paragraphs 26-30 are referred to herein as the

“Federal Officer Defendants.”

Auburn University

        32.     Defendant Auburn University (“Auburn”) is an educational institution in the State

of Alabama that receives federal funding and, on information and belief, exercises, and has

exercised, possession or control over cultural items excavated at Hickory Ground, including

possession or control of human remains at the time of the filing of this Second Amended

Complaint.



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                                 JURISDICTION AND VENUE

       33.     Plaintiffs’ claims arise under the Administrative Procedure Act, 5 U.S.C. §§ 551 et

seq.; the Indian Reorganization Act, 25 U.S.C. §§ 461, et seq.; the National Historic Preservation

Act (“NHPA”), 54 U.S.C. §§ 100101 et seq. (formerly 16 U.S.C. §§ 470 et seq.); the Native

American Graves Protection and Repatriation Act of 1990 (“NAGPRA”), 25 U.S.C. §§ 3001 et

seq.; the Archeological Resources Protection Act (“ARPA”), 16 U.S.C. §§ 470aa et seq.; the

Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §§ 2000bb et seq.; the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 et seq.; 28 U.S.C. § 1361 (mandamus); federal common law;

and supplemental state law claims.

       34.     Plaintiffs also seek their reasonable attorney fees pursuant to the Equal Access to

Justice Act, 28 U.S.C. § 2412, and the NHPA, 54 U.S.C. § 307105.

       35.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 (federal question jurisdiction), 1361 (action to compel a governmental officer to perform

his duty), 1362 (jurisdiction over civil actions brought by Indian tribes arising under the laws of

the United States), 1367 (supplemental jurisdiction over state law claims forming part of the same

claim or controversy); 25 U.S.C. § 3013 (jurisdiction over actions alleging violations of

NAGPRA); and 54 U.S.C. § 307105 (“any interested person” may enforce NHPA).

       36.     Pursuant to 28 U.S.C. § 1391(b)(2) & (e), venue is proper in this Court because

this action relates to lands located within this judicial district and a substantial part of the events

or omissions giving rise to the claims occurred in this judicial district.

       37.     Federal Defendants have waived their sovereign immunity against civil actions

alleging harm arising from such agencies’ actions or failures to act as required by law and seeking

relief other than monetary damages. 5 U.S.C. § 702.

       38.     The Court also has jurisdiction over the Federal Officer Defendants in their official
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capacities because they are federal governmental officials against whom Plaintiffs seek declaratory

and injunctive relief only in relation to continuing violations of federal law. See Ex Parte Young,

209 U.S. 123 (1908).

        39.     The Court has jurisdiction over the Poarch Council Defendants (listed in Paragraph

19), the PCI Gaming Authority Board Defendants (listed in Paragraph 22), and the Poarch THPO

in their official capacities because they are tribal officials against whom the Plaintiffs seek

declaratory and injunctive relief only in relation to continuing violations of federal law. See Ex

Parte Young, 209 U.S. 123 (1908).

        40.     This Court has jurisdiction over the Individual Defendants because they committed

the tortious actions alleged in this complaint in this judicial District.

        41.     Martin Construction, Inc. (“Martin Construction”) is subject to personal

jurisdiction in this District because it has conducted, and does conduct, business in the United

States and Alabama. Martin Construction is owned by a Poarch tribal member, and performed

construction services to build the Wetumpka casino resort in this judicial District.

        42.     The Court has jurisdiction over Auburn University under NAGPRA, 25 U.S.C. §§

3001 et seq., and ARPA, 16 U.S.C. §§ 470aa et seq., as Auburn receives federal funds and, on

information and belief, exercised, and continues to exercise, possession or control over remains

and cultural items that Auburn excavated from Hickory Ground. Auburn is listed as a Defendant

solely to the extent that this Court enters orders concerning the possession, custody, control, or

relocation of the cultural items at issue.




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                                 GENERAL ALLEGATIONS

A.      History Of Hickory Ground.

        43.    For millennia before the Removal Treaty of 1832, the Muscogee (Creek) people

inhabited most of what is now Alabama. The Muscogee (Creek) Nation was composed of Tribal

Towns, including the Tribal Town site called Ocevpofv by the Muscogee (Creek) people, and

known as “Hickory Ground Tribal Town” by English speakers.

        44.    Hickory Ground is of major importance in the history of the Muscogee (Creek)

Nation, Hickory Ground Tribal Town, and the United States. It was the last tribal capital of the

Muscogee (Creek) Nation prior to removal. Hickory Ground was critical to the very formation of

the United States. When European nations questioned the sovereignty of the newly born United

States, President George Washington lent legitimacy to the nascent country by signing treaties

with Indian Nations, including the Muscogee (Creek) Nation, whose sovereignty had previously

been affirmed through treaties with France, Spain, and England. Thus, in 1790, nearly two

centuries before Poarch was recognized as a tribe, President George Washington executed a treaty

with the Muscogee (Creek) Nation. The head of the Muscogee treaty delegation was from Hickory

Ground.

        45.    Tribal Town affiliation is matrilineal, and the current members of Hickory Ground

Tribal Town in Oklahoma are the lineal descendants of the ancestors buried at the historic Hickory

Ground in Wetumpka, Alabama.

        46.    Each Tribal Town is led by its chief, or mekko. Mekko George Thompson is the

kosa mekko of Hickory Ground, and has been since 1977. He is known as kosa mekko, or Coosa

Chief, as Hickory Ground dates back to the first Tribal Town at the time of the beginnings, known

as kosa or Coosa. Since time immemorial, Mekko Thompson’s ancestors have served as Mekko of

Hickory Ground Tribal Town.
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       47.     Hickory Ground is located on the east bank of the Coosa River, south of the present-

day Wetumpka and approximately two miles north of Fort Toulouse.

       48.     Under the terms of the Removal Treaty, the Muscogee (Creek) Nation ceded all of

its land east of the Mississippi River, including Hickory Ground, and a new reservation for the

Muscogee (Creek) Nation was established west of the Mississippi River. 7 Stat. 366, Arts. I &

XIV (1832). To stay with their tribe, the members of the Muscogee (Creek) Nation were required

to remove to what is now Oklahoma and leave behind their ancient villages and the many

generations of their ancestors who were buried there.

       49.     Hickory Ground Tribal Town, like all Tribal Towns of the Muscogee (Creek)

Nation, contains a ceremonial ground (square ground), council house, plaza, burial sites, and

individual graves containing human remains and funerary objects of the ancestors of the Plaintiffs.

Hickory Ground has profound cultural and religious importance to the Plaintiffs.

       50.     Hickory Ground is a state-registered archaeological site (1EE89) and is listed on

the National Register of Historic Places. Hickory Ground was placed on the National Register of

Historic Places in 1980, after the Alabama State Historic Commission applied for its placement on

the Register on behalf of Poarch. The part of Hickory Ground listed on the National Register of

Historic Places and currently considered to be trust or reservation land is referred to herein as the

“Hickory Ground Site.”

       51.     In the Muscogee (Creek) culture and religion, there are specific burial places for

those who held particular positions in Tribal Town traditional governance, and specific governance

structures over Tribal Towns, including burials within those Tribal Towns.

       52.     For example, Hickory Ground mekkos are buried under the mekkos’ arbor (the east-

facing arbor) in the ceremonial grounds.



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       53.    It was a common practice to bury family members who did not have a position in

the ceremonial grounds in the earth underneath a family’s home.

       54.    The map of archaeological features at the Hickory Ground Site on the next page

shows human burials concentrated under the arbors in the square ground and under house

structures:




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Kelly Ervin, A Comparative Spatial Analysis of Two Communities from the Hickory Ground Site

in Wetumpka, Alabama 26 (Auburn University Thesis, December 13, 2014).

        55.    It is the Plaintiffs’ long-established religious belief that burial and ceremonial

grounds are sacrosanct and must not be entered, let alone disturbed, without the proper religious

protocol.

        56.    It is also the Plaintiffs’ long-established religious belief that their ancestors must be

left at peace in their final resting places with their possessions (funerary objects), and are not to be

disturbed, mistreated, or disrespected in any manner.

        57.    Plaintiffs, as the living descendants and next of kin of the deceased, owe a religious

duty to their ancestors to care for the graves and bodies of the deceased and to follow traditional

religious protocol in such care.

        58.    In the Muscogee (Creek) traditional religion, certain protocols must be followed in

all burials. These protocols are based on Tribal Town and Clan religion and tradition.

        59.    Because the mekko is the chief of the town, the mekko ultimately decides all Tribal

Town issues, including treatment of the dead.

        60.    It is viewed as heinous and extremely disrespectful in the Muscogee (Creek)

traditional religion for any persons not belonging to the Muscogee (Creek) Nation or Tribal Town

to exhume or rebury Muscogee (Creek) ancestors and their funerary objects, especially where

those persons mistreat the remains and perform invented and non-traditional ceremonies

accompanying reburial.

B.      Poarch Bought Hickory Ground With Federal Preservation Grant Funds After
        Promising to Preserve This Sacred Place.

        61.    Poarch obtained the Hickory Ground Site in 1980 with $165,000 in federal

preservation grant funds and a $165,000 donation from the landowner.

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        62.    In the same year, pursuant to standard terms of federal preservation grant awards,

a protective covenant was placed on the property for 20 years.

        63.    Poarch had never occupied Hickory Ground prior to 1980. See Poarch Federal

Acknowledgement      Memo.,     pp.   2,   3,   16,   64,   65   of   131   (1983),   available   at

https://www.bia.gov/sites/bia.gov/files/assets/as-ia/ofa/petition/013_prchcr_AL/013_pf.pdf.

        64.    Poarch represented to the Alabama Historic Commission, the Muscogee (Creek)

Nation and the United States that its purpose in acquiring the Hickory Ground Site was to preserve

the historic property for the benefit of all Creek Indians, including the “existing Hickory

Ground tribal town in Oklahoma,” and to preserve the Site “without excavation.” Poarch

Application for Historic Preservation Grant Re U.S. Department of the Interior (HCRS [Heritage

Conservation and Recreation Service]) letter 712 at 2 (2/12/1980) (“Federal Preservation Grant

Application”), attached hereto as Exhibit A.

        65.    The Muscogee (Creek) Nation and Hickory Ground Tribal Town were the intended

third party beneficiaries of Poarch’s agreement to preserve Hickory Ground.

        66.    In its application for the $165,000 federal preservation grant to purchase the

Hickory Ground Site, Poarch (then calling itself the “Creek Nation East of the Mississippi”), stated

that “Hickory Ground (site no. 1-Ee-89) is of major importance in the history of the Muscogee

(Creek) Nation. It has supplied many of the important leaders in Creek history.” Id. at 1. “Hickory

Ground was involved in nearly all the major historic events in the southeast before the removal of

Creeks from Alabama in 1836,” including significant battles fought by Andrew Jackson. Id. at 1-

2.

        67.    In the section of its Federal Preservation Grant Application titled “The Use Of The

Land,” Poarch unequivocally represented and promised that “[a]cquisition of the property is



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principally a protection measure. Acquisition will prevent development on the property…. [P]lans

will be developed to minimize continued destruction of the archaeological resources.” Id. at 2.

“The property will serve as a valuable resource for cultural enrichment of Creek people…. The

Creek people in Oklahoma pride in heritage and ties to original homeland can only be enhanced.

There is still an existing Hickory Ground tribal town in Oklahoma. They will be pleased to

know their home in Alabama is being preserved…. The Hickory Ground site will continue

to enhance their understanding of their history, without excavation.” Id. (emphasis added).

       68.     In the section of Poarch’s Federal Preservation Grant Application titled “Specific

Standards of Protection,” Poarch stated that the site “will be maintained almost entirely by minority

groups,” including the Creek Nation Foundation, Inc. in Oklahoma, representing the Muscogee

(Creek) Nation in Oklahoma. Id. at 3. “[T]he property will be jointly owned by both groups of

Creeks.” Id. An attorney for the Creek Nation Office of Justice in Oklahoma would handle the

legal matters for the Muscogee (Creek) Nation. Id. at 4. A trained anthropologist would “act as an

advisor to the tribal councils on plans for permanent protection of the site.” Id. “Specific end

products of the project is to provide protection for a particularly important site in Creek History….

Hickory Grounds may also be a place where Creeks from Oklahoma may return and visit

their ancestral home.” Id. at 3 (emphasis added). “Destruction of archaeological resources in

Alabama … destroy[s] the cultural history of Creek people.” Id. at 5 (emphasis added). “In

order to halt the destruction planned for the site and to insure [sic] against future destruction, funds

for acquisition of fee simple title are requested. As the landowner is very much interested in

developing the property for commercial purposes it is felt acquisition of fee simple title is

necessary to prevent destruction of the site.” Id. at 2-3 (emphasis added).

       69.     Poarch corresponded with representatives of the Muscogee (Creek) Nation



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regarding its preservation plans for the Hickory Ground Site.

        70.      Additionally, in a 1983 Congressional Hearing in which both the Chief of the

Muscogee (Creek) Nation and Poarch Chairman Eddie Tullis testified regarding a bill governing

disbursement of Indian Claims Commission awards, the Poarch Chairman testified that, as Poarch

was “in ownership of one of the last historical sites of the Creek nation before the removal to

Oklahoma,” Poarch “propose[d] to use part of this money to make that site, not only available to

all of our people, but to the general public as well.” S. Hrg. 98-200 at 21-22 (5/26/1983).

        71.      The Poarch Chairman’s written testimony that was submitted to Congress and

included in the hearing record added more detail to this proposal: “Preservation of a historical site:

Along with [Poarch’s] effort to join the mainstream of American life there is a strong desire among

our people to preserve and share our unique history. To this end our tribe has acquired titled [sic]

to ‘Hickory Ground’, one of the most important Creek historical sites. We propose to use fifty

percent of the proceeds of S. 1224 to preserve and to present to both Indian and non-Indian this

unique and historical site.” S. Hrg. 98-200 at 24 (5/26/1983).

        72.      Relying on Poarch’s unqualified assurances that it would perpetually protect the

Hickory Ground Site, the Muscogee (Creek) Nation did not object to Poarch’s acquisition of the

Site, either in fee or trust.

C.      Interior Illegally Takes The Hickory Ground Site Into Trust For Poarch.

        73.      On June 11, 1984, the Department of the Interior extended federal recognition to

the Poarch Band of Creek Indians. 49 Fed. Reg. 24083 (June 11, 1984). Effective April 12, 1985,

the United States wrongfully accepted legal title to a majority of the Hickory Ground Site in trust

for the benefit of Poarch, 50 Fed. Reg. 15502 (April 18, 1985); 50 Fed. Reg. 19813 (May 10,

1985), purportedly pursuant to the Indian Reorganization Act of 1934.



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       74.      Under the Indian Reorganization Act, 25 U.S.C. § 5123 et seq., a tribe must have

been “under federal jurisdiction” in 1934 in order for Interior to have authority to take land into

trust for the tribe. See also Carcieri v. Salazar, 555 U.S. 379 (2009).

       75.      The Solicitor for the Department of the Interior has construed “under federal

jurisdiction” to involve a two-part inquiry into whether (1) the United States took actions reflecting

federal obligations, duties, responsibility for, or authority over a tribe in or before 1934, and (2)

that   relationship       continued   through   1934.     Sol.   Op.      M-37029,    available     at

https://www.doi.gov/sites/doi.opengov.ibmcloud.com/files/uploads/M-37029.pdf.

       76.      Poarch and the federal government have correctly and repeatedly recognized that

Poarch was not under federal jurisdiction within the meaning of the Indian Reorganization Act.

             a. In 2005, Poarch submitted a letter through its legal counsel to the National Indian

                Gaming Commission stating that “the federal government clearly ended its

                relationship with Poarch Creek following removal [in 1832]. . . . [T]he historical

                record amply demonstrates that the federal government terminated the government-

                to-government relationship with the Creek in Alabama through a broad course of

                dealings that included express statements by top federal officials disclaiming any

                federal relationship with the Tribe - and that this termination of federal recognition

                extended back almost 150 years prior to Poarch Creek regaining federal recognition

                in 1984.” Letter from W. Perry, Sonosky Chambers, to K. Zebell, National Indian

                Gaming Commission (“NIGC”), at pp. 10-11 (June 3, 2005), attached as Exhibit B

                hereto.

             b. The Department of the Interior Solicitor’s Office, Division of Indian Affairs, stated

                in 2008 that it “does not believe that the Poarch Creek Band ever had a government-



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         to-government relationship with the United States until it was [recognized in

         1984]…. [T]he record simply does not support the Band’s existence as a

         separate tribal entity with a governmental relationship with the United

         States.” Letter from David Bernhardt, then-Interior Solicitor, to Hogen, NIGC

         Chairman, p. 1 (June 13, 2008) (emphasis added), attached as Exhibit C hereto.

      c. The National Indian Gaming Commission in 2008 agreed that, after the Muscogee

         (Creek) Nation’s removal from Alabama in the 1830s, “the United States

         specifically and repeatedly disclaimed any relationship with the Poarch Band” until

         1984. Letter from NIGC Acting General Counsel to Bernhardt, p. 2 (July 30, 2008),

         attached as Exhibit D hereto.

      d. In 1951, in seeking to intervene in proceedings relating to compensation from the

         United States for lands ceded in past treaties with the Creek Nation, Poarch (then

         calling itself the “Perdido Friendly Creek Indian Band of Alabama and Northwest

         Florida Indians”) stated that it was “but a newly formed band of descendants of the

         original Creek nation.” Perdido Band Memo. In Supp. Of Mot. To Intervene, p. 4

         (1951) (emphasis added), attached as Exhibit E hereto.

      e. Later that year, Chairman Calvin McGhee and Secretary Ruby Weatherford signed

         a resolution changing the name of the band to the “Creek Nation East of the

         Mississippi.” Ex. A to Mot. To Change Record Name Of One of Movants for Leave

         to Intervene (8/29/1951), attached as Exhibit F hereto.

      f. Poarch (by this time going by the name Creek Nation East of the Mississippi) stated

         in November 1951 in a United States Court of Claims appellate brief that “they

         possessed no territory and were not dealt with by the United States as a group”



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         since removal. Creek Nation East of the Mississippi’s Appellate Br. re Intervention

         in Muscogee (Creek) Nation ICC Case, p. 137 (11/6/1951) (emphasis added),

         attached as Exhibit G hereto.

      g. The brief also stated that “the Federal Government had no dealings with those

         east of the Mississippi, as a group,” who, “unlike the Creeks in Oklahoma, had no

         organization, occupied no bounded grant of territory and were not under the

         guardianship of the Federal Government.” Id. p. 152 (emphasis added).

      h. In 1952, the United States submitted an appellate brief in the United States Court

         of Claims stating that “those [Creeks] who remained in the East [after removal]

         abandoned their tribal relationships; and they never continued a tribal

         government recognized by the United States and they entered into no treaties

         or other political arrangements with the United States … and only recently

         organized themselves, apparently for the purpose of this suit.” US Appellate Br.

         Opposing Creek Nation E. of the Mississippi’s Intervention in Muscogee (Creek)

         Nation ICC Case, p. 2 (Jan. 1952) (emphasis added and footnote omitted), attached

         as Exhibit H hereto.

      i. The United States’ 1952 brief also stated that the Creeks who remained east of the

         Mississippi “are not recognized by the administrative or legislative arm of the

         Government….” Id. at 16.

      j. The Court of Claims found that the United States had “no occasion for further

         dealings with [those Creeks who remained east of the Mississippi] since 1832.”

         McGhee v. Creek Nation, 122 Ct. Cl. 380, 391 (1952), cert. denied, 344 U.S. 856

         (1952).


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        77.      Where a tribe is not “under federal jurisdiction” under the Indian Reorganization

Act, Interior has no authority to take land into trust for that tribe.

        78.      Because Poarch was not “under federal jurisdiction” within the meaning of the

Indian Reorganization Act, the Hickory Ground Site is not properly held in trust for Poarch.

D.      Poarch Requests Delegation Of Federal Historic Preservation Responsibilities On
        The Eve Of Expiration Of The 20-Year Protective Covenant, And Then Begins To
        Desecrate Hickory Ground.

        79.      The 20-year protective covenant on the Hickory Ground Site expired in July 2000.

        80.      The year before the covenant expired, Poarch requested that the National Park

Service delegate historic preservation responsibilities to Poarch on “all lands within the exterior

boundaries of [Poarch’s] Reservation,” which included the Hickory Ground Site. The National

Park Service agreed.

        81.      The National Park Service’s June 10, 1999 agreement with Poarch (the “NPS

Agreement,” attached hereto as Exhibit I) requires that:

              a. Poarch follow Section 106 of the NHPA in accordance with the regulations codified

                 at 36 C.F.R. § 800 et seq. (NPS Agreement § 5), which mandates consultation with

                 any tribe that attaches religious and cultural significance to a historic site (see 16

                 U.S.C.S. §§ 470a(d)(6), 470f; 36 C.F.R. § 800.1 et seq.).

              b. The Poarch THPO “will, in accordance with Section 101(d)(4)(C) [of the NHPA],

                 provide for … consultation with representatives of any other tribes whose

                 traditional lands may have been within the Poarch Band of Creek Indians

                 Reservation,” and “will periodically solicit and take into account comments on the

                 program from all those individuals and groups who may be affected by the

                 program’s activities” (NPS Agreement § 7);



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             c. “In any case where an action arising pursuant to the Act may affect the traditional

                lands of another Tribe, the [Poarch THPO] will, on an as-needed basis, seek and

                take into account the views of that Tribe.” NPS Agreement § 7.

       82.      The National Park Service could not and would not have delegated the historic

preservation duties to Poarch without Poarch’s agreement to undertake the enumerated duties.

       83.      The Hickory Ground Site is in the traditional lands of the Muscogee (Creek) Nation.

       84.      The Hickory Ground Site contains the ceremonial grounds and burials of members

of the Hickory Ground Tribal Town.

       85.      Plaintiffs were intended third party beneficiaries of the NPS Agreement.

       86.      Under the NPS Agreement, at least every four years the National Park Service was

obligated to “carry out a periodic review of the Tribe’s program pursuant to the Act, to ensure that

the Tribe is carrying out the program consistent with the agreement.” NPS Agreement § 14. NPS

could terminate the Agreement if Poarch did not “carr[y] out its assumed responsibilities in

accordance with this agreement, the Act, or any other applicable Federal statute or regulation.”

NPS Agreement § 15; see also 54 U.S.C. § 302108.

       87.      At the time the National Park Service approved of and executed the NPS Agreement

with Poarch, Poarch’s Office Of Cultural And Historic Preservation Field Methodology had a

policy that “[u]nder no circumstances are the burials on the Poarch Creek Indians Reservations, or

lands under their control, to be excavated, nor are they to be subjected to any examination or

testing. Burial sites take precedence over any project or program plan.” Poarch Field Methodology

Policy, p. 6 (April 1999) (emphasis in original), attached hereto as Exhibit J.

       88.      The Poarch Field Methodology Policy also emphasized: “AGAIN! THE

POARCH BAND OF CREEK INDIANS TRIBAL ARCHAEOLOGICAL AND HISTORIC



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RESOURCES CODE EMPHASIZES AVOIDANCE AND PRESERVATION OF

FEATURES RATHER THAN EXCAVATION.” Id. (emphasis in original).

       89.     On information and belief, after the National Park Service delegated historic

preservation responsibilities to Poarch, Poarch reversed these policies with respect to the Hickory

Ground Site.

       90.     In 2001, various parties complained to the Bureau of Indian Affairs and others that

Poarch was disturbing the Hickory Ground Site.

       91.     In response to these complaints, the Bureau of Indian Affairs Archaeologist and

Federal Preservation Officer recommended that the Bureau of Indian Affairs conduct an

investigation at the site to determine whether ground-disturbing activity was damaging

archaeological resources in violation of ARPA. Briefing Statement to Assistant Secretary for

Indian Affairs (10/1/2001).

       92.     The Bureau of Indian Affairs concluded as of March 2002 that no burials or

archaeological resources had yet been disturbed on trust land.

       93.     The complaints—which continued through 2001 and 2002, notified the Bureau of

Indian Affairs, the Secretary of Interior, and the Assistant Secretary of Indian Affairs that

continued ground-disturbing activity would result in irreparable damage to the Site in violation of

applicable law on lands that Interior considered to be trust lands.

       94.     The complaining parties included the Alabama Historical Commission, the

Governor of Alabama, then-Senator Jeff Sessions, Dr. Craig Sheldon with Auburn University (who

had authored several archaeological reports on the Hickory Ground Site), and the City of

Wetumpka (via a lawsuit). See Letter from L. Warner, Exec. Director of Alabama Historical

Commission, to Secretary of Interior (10/26/2001); Letter from D. Siegelman to Secretary of



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Interior (11/14/2001); Letter from C. Sheldon to Alabama Historical Commission (1/28/2002);

Letter from L. Warner, Exec. Director of Alabama Historical Commission, to Hon. Jeff Sessions

(3/14/2002); City of Wetumpka Amended Complaint, Civil Case No. 01-A-1146-N (M.D. Ala.

11/9/2001).

        95.    The Alabama State Historic Commission also listed Hickory Ground as a “place in

peril” in the year 2000, and listed yet another Poarch casino site in Montgomery as a “place in

peril” in 2002, as Poarch’s construction of a casino in that location also threatened Muscogee

(Creek) burial mounds.

        96.    Despite these warnings, Interior (including the National Park Service) failed to

conduct the required reviews of Poarch’s compliance with the NPS Agreement and failed to

enforce federal law.

        97.    Such reviews should have taken place by 2004, 2008, and 2012.

        98.    The National Park Service did not conduct any such reviews.

        99.    If it had, it would have discovered that Poarch violated the NPS Agreement and

other federal laws.

E.      Poarch Builds A Casino Resort Over A Muscogee (Creek) Sacred Site.

        100.   After the 20-year covenant expired in July 2000 and Poarch secured delegation of

historic preservation responsibilities, Poarch caused a significant portion of the Hickory Ground

Site to be destroyed to make way for its second casino resort (Poarch already had one in Atmore).

        101.   At Poarch’s direction, archaeologists affiliated with Auburn University conducted

a phase III excavation of the Hickory Ground Site.

        102.   On information and belief, this excavation commenced in the years following

delegation by the National Park Service to Poarch of historic preservation responsibilities, and



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ended in 2011.

        103.     Phase III excavations are designed to record the data a site contains before a project

proceeds and the site is lost.

        104.     Collecting this data involves the archaeologists disturbing remains, funerary

objects, and additional cultural materials through the excavation of soil across the site. After the

items are excavated and collected, they are taken to a laboratory where the materials are washed

and analyzed. Analysis for the funerary objects and other cultural materials and soil may also

include Accelerator Mass Spectrometry dating (carbon-14 dating), chemical analysis, organic

residue analysis, and other examinations.

        105.     Not all cultural items are removed during a phase II excavation and before

construction. Generally, the task of phase III investigators is to record archaeological information

about the site before development. Archaeologists remove some material, but other cultural items

are left at the site. This means that the construction at Hickory Ground likely destroyed many

cultural items forever.

        106.     On information and belief, no phase III excavation of the Hickory Ground Site had

taken place before the excavation ordered by Poarch after the protective covenant expired.

        107.     However, earlier investigations commissioned by Poarch concluded at least as early

as 1990 that “well defined and undisturbed cultural remains,” including human burials, were

abundant at the Site.

        108.     To perform the phase III excavation, Auburn University, at the behest of Poarch,

obtained archaeological permits under the Archaeological Resources Protection Act. At least

some, if not all, of these permits required that the permittee:

            a. Abide by the “Archaeological Resources Protection Act … and its regulations …



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               and interdepartmental regulations (25 CFR 261) as to Indian lands”;

           b. Abide by “the Native American Graves Protection and Repatriation Act of 1990

               [and] the regulations for the curation of Federally-owned and administered

               archaeological collections (36 CFR 79)”;

           c. Follow special permit conditions requiring that any “[e]xcavation or removal of any

               Native American human remains, funerary objects, sacred objects, and objects of

               cultural patrimony must be preceded by consultation or, in the case of tribal lands,

               consent of the appropriate Indian tribe or Native Hawaiian organization.

               Consultation should be conducted with the lineal descendants, tribal land owners,

               Native American representatives, and traditional religious leaders of all Indian

               tribes and Native Hawaiian organizations that can reasonably be assumed to be

               culturally associated with the cultural items”; and

           d. “[W]ithin approximately 6 weeks of the conclusion of field work,” submit “a

               preliminary report of work performed under th[e] permit, illustrated with

               representative photographs and listing new and significant collected materials” to

               the Bureau of Indian Affairs.

       109.    Poarch did not comply with the prerequisite conditions listed in the permits.

       110.    Poarch did not consult with, or obtain consent from, the Muscogee (Creek) Nation,

Hickory Ground Tribal Town, or Mekko Thompson, the recognized traditional religious leader of

Hickory Ground Tribal Town, before commencing the phase III excavation at Hickory Ground.

       111.    Nor did Poarch submit the required report of work performed under the permits to

the Bureau of Indian Affairs.

       112.    Likewise, none of the Federal Defendants consulted with, or obtained consent from,



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the Muscogee (Creek) Nation, Hickory Ground Tribal Town, or Mekko Thompson prior to

granting each permit allowing the phase III excavation to take place.

        113.   Nor did Interior “ensure that the work was conducted in accordance with statutory

and regulatory requirements and any terms and conditions stipulated in the permit,” as the permit

stated it would do.

        114.   With the grant of each ARPA permit, Interior performed a new application of its

unauthorized decision to take lands into trust for Poarch, as the ARPA permits only allowed

excavations to take place “on lands under the jurisdiction of the Department of Interior.”

F.      To Make Way For Its Casino Resort, Poarch Desecrates The Muscogee (Creek)
        Human Remains And Funerary Objects.

        115.   The graves at Hickory Ground are abundant and unmarked.

        116.   According to Auburn’s archeologists who performed initial archaeological

investigations at the Hickory Ground Site on behalf of Poarch, “[i]n almost all tested areas

evidence of well defined and undisturbed cultural remains were discovered.” Sheldon et al.,

Additional Archaeological Investigations of the Hickory Ground Site, p. 27 (1990). “[I]t is virtually

impossible to undertake any construction activities without a high probability of seriously

damaging the many irreplaceable archaeological deposits, artifacts, and human graves remaining

at Hickory Ground.” Declaration of Craig Sheldon, p. 3 (9/27/2001).

        117.   At least 57 sets of human remains along with their associated funerary objects were

exhumed during the phase III excavation.

        118.   These human remains represent the direct lineal ancestors of Hickory Ground

members. Under Muscogee (Creek) tradition and religion, Mekko George Thompson, as Chief of

Hickory Ground, represents those members, including in decisions on the appropriate actions to

take with regard to the remains.

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         119.   Numerous other artifacts were removed from the Site.

         120.   On information and belief, Poarch directed that the cultural items from the Hickory

Ground Site be stored in a manner that caused, and is continuing to cause, further damage to the

items.

         121.   Some cultural items, including human remains, are still in storage.

         122.   On information and belief, the containers and buildings in which the items were

stored (and in which some items, including human remains, are still stored) did not (and still do

not) have proper ventilation, did not (and still do not) have temperature controls, improperly

separated (and continue to improperly separate) funerary objects from the human remains with

which they were buried, and did not (and still do not) otherwise meet minimum curatorial

standards.

         123.   This manner of storage can cause mold and accelerate decomposition.

         124.   This manner of storage is viewed as abhorrent in the Muscogee (Creek) religion.

         125.   Over 7,000 archaeological features, representing historic and ancient Muscogee

(Creek) buildings, houses, ceremonial locations, and other sacred locations, were recorded during

the phase III excavation and then destroyed by the excavation and later construction of the casino.

         126.   The remains and artifacts removed from the site were subjected to archaeological

examination.

         127.   In the Muscogee (Creek) religion, archaeological examination violates the sanctity

of tribal ancestors and destroys the ancestors’ spiritual existence until they are put back at peace

using appropriate religious protocol.

         128.   In the Muscogee (Creek) religion, the soil that surrounds a body is considered part

of the body, because as the remains decompose, they are absorbed into the soil. Thus, removing



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the soil from around the body is akin to removing a limb in the Muscogee (Creek) religion.

        129.   On information and belief, Poarch failed to instruct Auburn to treat the soil

surrounding human remains as part of the body during the excavation by removing the surrounding

soil along with the bones.

        130.   As a result, the excavations and subsequent construction resulted in parts of the

bodies being permanently removed from the remains and spread across undisclosed locations.

        131.   The casino resort was likely built on top of these body parts.

        132.   Martin Construction, a construction company owned by a Poarch Band member,

performed construction services to build the Wetumpka casino resort from 2012 to 2014.

        133.   Martin Construction undertook the majority of these activities after Plaintiffs filed

a complaint emphasizing the religious and cultural importance of the Site, notifying Defendants of

violations of applicable law, and requesting immediate injunctive relief to halt these activities. See

Dkt. Nos. 1 & 57.

        134.   On information and belief, Poarch and/or Martin Construction failed to maintain

adequate records of inadvertent discovery of cultural items during construction activities.

        135.    On information and belief, Poarch and Martin Construction failed to stop activity

when cultural items were discovered.

        136.   Constructing a building on a site prevents non-invasive analysis of whether remains

are still present under the building.

G.      Plaintiffs Repeatedly Request That The Hickory Ground Site Be Preserved As Poarch
        Promised.

        137.   On information and belief, Poarch first notified the Muscogee (Creek) Nation of

the phase III excavation in 2006.

        138.   By that time, some human remains from the Hickory Ground Site had already been

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exhumed and archaeologically examined as part of the phase III excavation.

       139.    Beginning in 2006, Plaintiffs engaged in a years-long effort to persuade Poarch not

to excavate and desecrate the remains of Plaintiffs’ ancestors and other cultural items and to return

any cultural items already excavated from Hickory Ground to their original resting place.

       140.    This leader-to-leader effort is the traditional way that the Muscogee (Creek) Nation

and Hickory Ground attempt to resolve disputes.

       141.    This effort to negotiate methods for enforcing the common law and statutory

protections of Plaintiffs’ rights regarding Hickory Ground eventually failed in 2011.

       142.    After visitation and discussion with Poarch and Auburn University in 2006 and

2007 regarding human remains and associated funerary objects that were being exhumed at

Hickory Ground, Mekko George Thompson, on behalf of Plaintiffs, sent a letter dated March 12,

2008 to the Director of the National Park Service relaying eight allegations regarding NAGPRA

violations arising from disturbance and/or removal of human remains and funerary objects from

the Hickory Ground Site.

       143.    These allegations were based upon personal observations of Mekko Thompson and

other members of Hickory Ground during their visits to the Hickory Ground Site.

       144.    In an April 21, 2009 letter from the Department of the Interior to Auburn

University, which was copied to Plaintiff Mekko Thompson, Interior conveyed its determination

that Plaintiff Thompson’s claims and allegations of violations under NAGPRA “have not been

substantiated,” based on eight factual findings and legal conclusions.

       145.    Interior’s determination was based largely on its incorrect determination that

Poarch retained legal interest in the “NAGPRA items from the Hickory Ground site.” With this

determination, Interior once again performed a new application of its unauthorized decision to take



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lands into trust for Poarch, as the determination relied not only on an incorrect application of

NAGPRA, but on the presumption that the lands were “tribal lands” belonging to Poarch within

the definitions in NAGPRA.

        146.   However, under NAGPRA, Poarch never had either ownership or the right of

control over the disposition of the excavated human remains and associated funerary objects. 25

U.S.C. §§ 3002(a), (c)(2)-(3).

        147.   Instead, Mekko Thompson, as the representative of all lineal descendants of the

ancestors buried at Hickory Ground under the Muscogee (Creek) traditional kinship structure, has

ownership and right of control over the disposition of such remains and objects.

        148.   Plaintiffs repeatedly requested that the remains of their ancestors and associated

funerary objects be reinterred in their original resting places, that no further exhumations occur,

that the construction and excavation stop, and that Hickory Ground be preserved in a natural state.

        149.   Poarch, through its officials, eventually refused all these requests. Upon

information and belief, Poarch never intended to comply with Plaintiffs’ requests.

H.      Poarch Intentionally Excludes The Muscogee (Creek) Nation And Hickory Ground
        From Decisions About Their Ancestors’ Reburial And Conducts The Reburial In
        Secret.

        150.   After the years-long excavations were completed, and with the knowledge that

Plaintiffs’ religion required the cultural items to be placed in their original and intended final

resting place, Poarch hurriedly reburied most of those remains and objects away from their final

resting places in 2012.

        151.   Poarch did so while avoiding having any Muscogee (Creek) or Hickory Ground

members present for the reburial.

        152.   Poarch accomplished this by unilaterally deciding to rebury the remains in April



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2012 without consulting with the Muscogee (Creek) Nation or Hickory Ground Tribal Town, and

then purposefully providing late notice of the planned reburial to Mekko Thompson and the

Muscogee (Creek) Nation.

       153.    On Wednesday, April 4, 2012, Buford Rolin (then-Chair of the Poarch Band) sent

letters via hardcopy mail to the P.O. Box addresses for Mekko Thompson and the Muscogee

(Creek) Nation Principal Chief. The letters stated that Poarch council members “hope that we”

(Mekko Thompson, the Muscogee (Creek) Nation, and Poarch) can “work together regarding re-

interment,” and asked that Mekko Thompson and the Principal Chief “[p]lease let us know as soon

as possible if you would like to join us” for the reburial. Letter to Mekko Thompson attached as

Exhibit K hereto.

       154.    The letters made no mention of the date of reinterment.

       155.    The Principal Chief of the Muscogee (Creek) Nation did not receive the letter, only

learning of it after Mekko Thompson brought a copy to his office.

       156.    Once the Principal Chief learned about the letter, representatives of the Muscogee

(Creek) Nation immediately called Rolin’s office and the Poarch Band attorney.

       157.    On Friday, April 13, 2012, the Principal Chief of the Muscogee (Creek) Nation, on

behalf of the Muscogee (Creek) Nation and Mekko Thompson, sent a response to Rolin via

facsimile and mail (attached hereto as Exhibit L) requesting a “Tribal Leader to Tribal Leader”

discussion “as soon as possible.”

       158.    On Tuesday, April 17, 2012, Rolin sent another hardcopy letter (attached hereto as

Exhibit M) to Mekko Thompson and the Principal Chief of the Muscogee (Creek) Nation, stating

that “[w]hen we did not immediately hear from you in response to our April 4th letter, we assumed

you did not wish to participate in the reinterment process” and that “[l]ast week we proceeded with



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the reinterment” of the remains and objects “in the manner to which we agreed during prior

discussions.”

        159.    In other words, after six years of negotiations, Poarch sent ambiguous letters to

Muscogee (Creek) Nation and Hickory Ground stating that it intended to rebury the remains and

objects at some unidentified date in the future. Poarch then unilaterally reinterred the remains and

objects without waiting for a response. It conducted the reinterment less than 10 days after sending

the letters to Mekko Thompson and Chief Tiger.

        160.    At no point did any Plaintiff agree to reinterment away from the remains’ and

associated funerary objects’ original resting place.

        161.    At the time of the reburial, Poarch was aware that Mekko Thompson and the

Muscogee (Creek) Nation wanted the remains and associated funerary objects to be reinterred in

their original resting place.

        162.    For example, in a letter to the Muscogee (Creek) Nation and Mekko Thompson in

November 2010 (attached hereto as Exhibit N), Rolin acknowledged that “the beliefs and customs

of the [Hickory Ground ceremonial grounds leadership]” required “reinterment in [the original

resting] place,” and that Hickory Ground had requested reburial in such places.

        163.    At the time of the reburial, Poarch was aware that the remains and associated

funerary objects that it was reburying would have to be exhumed again if they were to be reinterred

in their original resting place.

        164.    During reinterment, Poarch officials performed ceremonies viewed as abhorrent in

the Muscogee (Creek) religion because they violate religious protocol, further desecrating and

disrespecting the remains of the Hickory Ground people.

        165.    On or about July 11, 2012, Poarch announced plans to construct a $246 million



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casino resort on Hickory Ground.

         166.   Poarch moved forward with casino construction in October 2012, issuing a press

release (attached hereto as Exhibit O) stating that “we are being faced with demands to remove

ancestral remains that have already been reinterred. . . . We cannot change the fact that remains

were found and removed. Those remains are now reinterred and we cannot support disturbing

those remains again. . . . [N]o one cares more about the sanctity of our land . . . than we do.”

         167.   The press release falsely stated that the remains “have been reinterred at Hickory

Ground Town [sic] in a manner previously agreed to by traditional leaders in Oklahoma.”

         168.   In response to continuing objections from the Plaintiffs to the desecration of their

sacred site and their ancestors’ burial sites, Defendant Stephanie Bryan, on behalf of Poarch,

mailed a letter to tribal leaders nationwide.

         169.   On information and belief, this letter was sent in 2013.

         170.   In the letter (attached hereto as Exhibit P), Bryan attached a “fact sheet” containing

statements indicating that Poarch believes that applicable law allows it to destroy and mistreat

Muscogee (Creek) human remains and other cultural items on trust lands without notice to,

consultation with, or consent from the Muscogee (Creek) Nation.

         171.   The letter falsely states that Poarch “is under no legal obligation to negotiate with

any other sovereign Indian nation” about activities on its trust lands.

         172.   The letter falsely states that the “Wind Creek Wetumpka development protects our

past.”

         173.   The letter also falsely states that “[Poarch] is in compliance with all applicable

federal historic and cultural preservation laws pertaining to the property.”

         174.   The letter also misrepresents the importance, quality, and quantity of the



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archaeological resources at the Site, falsely suggesting that they were not well-preserved or

significant.

        175.      The letter falsely states that it was “consistent with the Muskogee [sic] Tribe’s [sic]

Constitution” to reinter the remains away from their original resting places “with prayer and

ceremony.”

        176.      The letter falsely states that the remains were “reintered [sic] with dignity and

honor.”

        177.      The letter makes no mention of the phase III excavation or removal of human

remains or funerary objects pursuant to the phase III excavation.

        178.      The statements listed in Paragraphs 171 to 177 are false and misleading, and

highlight the outrageous disrespect with which Poarch treated the religious and cultural beliefs of

the Plaintiffs.

I.      Hickory Ground Today And The False Promise Of Preservation.

        179.      In 1988, the Hickory Ground Site looked like this:




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Cameron Wallace Gill, Ceramic Analysis of Proto-Historic Domestic Structures from 1EE89: A

Transitional Culture on the Coosa 2 (Auburn University Thesis, December 13, 2010).

       180.   The Hickory Ground Site looked like this by September 2012 (see next page):




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Google Earth Image (9/23/2012).

       181.   The numerous archaeological features and cultural items found throughout the Site

are shown on the next page:

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Kelly Ervin, A Comparative Spatial Analysis of Two Communities from the Hickory Ground Site

in Wetumpka, Alabama 26 (Auburn University Thesis, December 13, 2014).

        182.   The archaeological features and cultural items relative to the casino resort are

shown below:




Id. at 28.
                                              42
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      183.   Today, the Hickory Ground Site looks like this:




Google Maps Image (2019).

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          184.   Poarch’s wrongful actions are not only continuing, they are capable of repetition

and evading review.

          185.   There are still Muscogee (Creek) burials, funerary objects, and other cultural items

in the lands at the Hickory Ground Site.

          186.   There are also significant Muscogee (Creek) burials, funerary objects, and other

cultural items in Poarch’s Montgomery lands—which Interior also incorrectly and without

authority took into trust.

          187.   Under Poarch’s stated interpretation of the law, it can destroy these sites and any

burials contained therein without notifying the Muscogee (Creek) Nation.

          188.   Poarch’s conduct demonstrates that it is more than willing to act unilaterally, in

breach of its preservation promises made to obtain the land and without regard to the requirements

under the NPS Agreement and federal law. Prior to the phase III excavation, Poarch knew that

Hickory Ground held historical, cultural, and spiritual significance to the Muscogee (Creek)

Nation and Hickory Ground, and that any destruction or unearthing of remains at Hickory Ground

would, in Poarch’s own words from its preservation grant application, “destroy[] the cultural

history of Creek people.”

          189.   Plaintiffs seek to restore, to the extent possible, the Hickory Ground Site to the

condition it was in before the wrongful excavation and construction of the casino resort, to compel

Poarch to abide by its agreement to preserve Hickory Ground “without excavation,” to hold the

Defendants responsible for the outrageous harm they caused to the Plaintiffs, and to declare

Defendants’ responsibilities under applicable law to prevent continuing violations of the Plaintiffs’

rights.




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           COUNT I: VIOLATION OF THE INDIAN REORGANIZATION ACT

        190.    Under the Indian Reorganization Act, 25 U.S.C. § 5123 et seq., a tribe must have

been “under federal jurisdiction” in 1934 in order for Interior to have authority to take land into

trust for the tribe. See also Carcieri v. Salazar, 555 U.S. 379 (2009).

        191.    Because Poarch was not under federal jurisdiction in 1934, see Paragraph 76, the

Secretary did not have authority to take the Hickory Ground Site into trust for Poarch. Thus, the

trust transaction was unlawful, ultra vires, and void ab initio.

        192.    Because the Hickory Ground Site was not validly taken into trust, Interior did not

have authority to grant permits allowing the phase III archaeological excavations.

        193.    The gaming at the Hickory Ground Site is illegal under the Indian Gaming

Regulatory Act, 25 U.S.C. § 2701 et seq., because such gaming can only occur on certain trust

lands. Because it was taken into trust in violation of the Indian Reorganization Act, the Hickory

Ground Site does not constitute trust land where gaming can legally occur.

        194.    The Hickory Ground Site is properly considered fee land owned by Poarch that is

subject to state, not federal, law.

        195.    Given Poarch’s representations to the Muscogee (Creek) Nation that Poarch would

always protect the Hickory Ground Site, Plaintiffs had no reason to believe they would be harmed

by Interior’s acceptance of the Hickory Ground Site in trust for Poarch in 1985.

        196.    It was not until 2006 that Poarch notified the Muscogee (Creek) Nation that Poarch

was not protecting the Hickory Ground Site from development “without excavation,” as it had

promised it would do.

        197.    This Court should declare that Interior lacked authority to take land into trust

because Poarch was not “under federal jurisdiction,” and therefore Interior’s taking of the Hickory

Ground Site into trust for Poarch was void ab initio.
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       198.     Because the trust transaction is void, the Hickory Ground Site is not tribal

reservation or federal land. Instead, Poarch retains fee simple title to the Hickory Ground Site.

       199.     Gaming on the Hickory Ground Site is thus not legal under applicable Alabama law

and the Indian Gaming Regulatory Act, 25 U.S.C. § 2701 et seq. (authorizing gaming on “Indian

lands” only).

    OPERATIVE COUNTS IF THIS COURT RULES IN FAVOR OF PLAINTIFFS ON
    COUNT I AND DETERMINES INTERIOR LACKED AUTHORITY TO TAKE THE
              HICKORY GROUND SITE INTO TRUST FOR POARCH

       200.     Counts II-IV of this Complaint present claims that are applicable only if the Court

determines that the Department of the Interior lacked authority to take the Hickory Ground Site

into trust for Poarch.

             COUNT II: UNJUST ENRICHMENT (ALABAMA COMMON LAW)

       201.     Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       202.     Poarch unjustly enriched itself by acquiring the Hickory Ground Site at no cost to

Poarch and without objection from Plaintiffs based on promises that it would perpetually protect

the Site. Instead of preserving the Site in accordance with its promises, Poarch has further unjustly

enriched itself by destroying a large part of the Site to make way for a multimillion-dollar casino

resort that is generating hundreds of millions of dollars in gambling and resort revenues for Poarch

each year.

       203.     In its application for federal preservation grant funds, Poarch expressly assured that

its acquisition of the Hickory Ground Site would result in the “existing Hickory Ground tribal

town in Oklahoma…. know[ing] their home in Alabama is being preserved,” “without

excavation”; that Poarch would provide “permanent protection of the site”; and that “Hickory

Grounds may also be a place where Creeks from Oklahoma may return and visit their ancestral

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home.” Poarch warned that “[d]estruction of archaeological resources in Alabama … destroy[s]

the cultural history of Creek people.”

       204.    Poarch continued to make promises of protection of Hickory Ground in the

presence of Muscogee (Creek) Nation prior to Poarch’s recognition.

       205.    Poarch’s bid for federal recognition was accompanied by a proposal to take Hickory

Ground into trust as part of Poarch’s initial reservation.

       206.    Had the Muscogee (Creek) Nation known that Poarch would desecrate Hickory

Ground, it would have taken steps to prevent Poarch from acquiring the land and would have

opposed Poarch’s bid for federal recognition.

       207.    In justifiable reliance on Poarch’s promises in the federal preservation grant

application, including promises that Poarch would provide “permanent protection of the site,”

“without excavation,” so that “Creeks from Oklahoma may return and visit their ancestral home,”

the Muscogee (Creek) Nation did not object to Poarch’s acquisition of Hickory Ground in fee or

in trust. Instead, the Muscogee (Creek) Nation supported Poarch’s bid for recognition.

       208.    Thus, Poarch not only acquired the Hickory Ground Site at no cost, it also gained

the benefit of the Muscogee (Creek) Nation’s support in its federal recognition bid and the Nation’s

lack of objection to Poarch acquiring the Hickory Ground Site.

       209.    Poarch further unjustly enriched itself by expediting the construction and opening

of the casino through (1) knowingly and intentionally breaching the NPS Agreement by avoiding

providing notice to, or consulting with, Plaintiffs or involving the Plaintiffs in any way with respect

to the exhumation or reburial of their deceased family members; and (2) choosing to continue

construction after Plaintiffs repeatedly demanded that Poarch cease all plans for development of

the Site and return the human remains, funerary objects, and other cultural items to their original



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resting places.

       210.       Poarch knew that it would not have obtained the preservation funds, the Muscogee

(Creek) Nation’s support and lack of objection to acquisition of the Site, or the National Park

Service’s Agreement to entrust it with historic preservation responsibilities if it had disclosed that

it would desecrate, damage and destroy large portions of the Site in the future.

       211.       It would be inequitable for Poarch, who benefited from acquiring the Hickory

Ground Site (at no cost) based on its promises of permanent protection, to profit to the tune of

billions of dollars in gambling revenues by breaching those promises and irreparably harming

those who trusted that it would keep its promises.

       212.       The Court should impose equitable remedies, among other things, requiring the

Poarch Council Defendants, PCI Gaming Authority Board Defendants, and Poarch THPO to abide

by Poarch’s promises and restore the property, to the greatest extent possible, to its pre-excavation

and pre-construction condition.

       213.       The Court should order the Federal Officer Defendants to take any actions that may

be necessary to implement the above-described equitable remedies.

         COUNT III: PROMISSORY ESTOPPEL (ALABAMA COMMON LAW)

       214.       Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       215.       Poarch promised the Muscogee (Creek) Nation and Hickory Ground that it would

preserve the Hickory Ground Site in perpetuity.

       216.       The Muscogee (Creek) Nation relied on that promise to its detriment in not

objecting to Poarch’s acquisition of the property, either in fee or trust, and in supporting Poarch’s

federal recognition.

       217.       Poarch was aware that, had the Muscogee (Creek) Nation known that Poarch would
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not protect the Hickory Ground Site as it promised and instead would destroy Plaintiffs’ sacred

burial grounds and religious sites, the Muscogee (Creek) Nation would have objected immediately

to Poarch’s acquisition of the land in any status (fee or trust) and made efforts to prevent the

acquisition.

         218.   The injustice of Poarch enriching itself by breaking its promises and thereby

causing irreparable harm to the Muscogee (Creek) Nation and Hickory Ground can only be avoided

by enforcing those promises. See Beatty v. Kurtz, 27 U.S. 566, 584-85 (1829); Bessemer Land &

Sykes v. Payton, 441 F. Supp. 2d 1220, 1224 (M.D. Ala. 2006); Improv. Co. v. Jenkins, 111 Ala.

135, 148 (1895).

         219.   The Court should impose equitable remedies, among other things, requiring the

Poarch Council Defendants, PCI Gaming Authority Board Defendants, and Poarch THPO to abide

by Poarch’s promises and restore the property, to the greatest extent possible, to its pre-excavation

and pre-construction condition.

         220.   The Court should order the Federal Officer Defendants to take any actions that may

be necessary to implement the above-described equitable remedies.

                                  COUNT IV: OUTRAGE
                   (Plaintiff Mekko Thompson Against The Individual Defendants
                                And Defendant Martin Construction)

         221.   Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs. Plaintiff Mekko Thompson is the only Plaintiff asserting a claim under this

Count.

         222.   Under Alabama law, outrage occurs where the defendant’s conduct (1) was

intentional or reckless; (2) was extreme and outrageous; and (3) caused emotional distress so

severe that no reasonable person could be expected to endure it.



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       223.    The Individual Defendants, knowing that Hickory Ground and the human remains

and funerary objects buried there were sacred in the culture and traditional religion of Mekko

Thompson, intentionally and outrageously caused the desecration of Hickory Ground by ordering

that the bodies and funerary objects buried there be exhumed, disassociated, dismantled, analyzed,

and reinterred in a manner considered abhorrent in the Muscogee (Creek) traditional religion.

       224.    Plaintiffs were robbed of the promise they relied upon—that Poarch would always

protect the Hickory Ground Site so that it would “be a place where Creeks from Oklahoma may

return and visit their ancestral home” and so that the Muscogee (Creek) Nation and Hickory

Ground members would “know their home in Alabama is being preserved.”

       225.    As the living descendants of the deceased, Plaintiffs, including Mekko Thompson,

owe a moral and religious duty to their ancestors under Plaintiffs’ traditional religion to care for

the graves and bodies of the deceased. Failing in that duty is considered to be a failure to one’s

ancestors, Tribal Town, Clan, and culture. As traditional chief of Hickory Ground Tribal Town,

Mekko Thompson has a heightened responsibility to fulfill this duty on behalf of all Hickory

Ground Tribal Town members. The Individual Defendants’ desecration of Plaintiffs’ deceased

family members at Hickory Ground has caused and is continuing to cause Mekko Thompson abject

pain, sorrow, anguish, torment, suffering, helplessness, grief, and anger.

       226.    The remains of the Hickory Ground members’ deceased family members were

placed in newspaper and plastic bins and left in a non-air conditioned shed through numerous hot

Alabama summers. The Individual Defendants even authorized the bodies of infants to be

exhumed. Bodies of Plaintiffs’ deceased family members were left exhumed, exposed, ill-attended,

and disregarded for years before Poarch wrongfully reinterred them away from their final resting

places. Some remains, funerary objects, and cultural items have not been reinterred and are still



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being stored in this manner.

          227.   The Individual Defendants intentionally concealed what was happening to

Plaintiffs’ ancestors from Plaintiffs, including Mekko Thompson. The fact that such a terrible

tragedy occurred without their knowledge has imposed an enduring feeling of helplessness and

fear in Mekko Thompson that this will happen again. Mekko Thompson, as chief of Hickory

Ground Tribal Town, has not been able to assure the children and young people of the Tribal Town,

or other related Clan members or Tribal Towns, that the Individual Defendants will be held

accountable for their egregious actions, or that Poarch will not commit similar atrocities in the

future.

          228.   The Individual Defendants further caused emotional distress to Mekko Thompson

by exhibiting blatant carelessness about the religious, historical, and cultural importance of the

Site to Plaintiffs, and by affirmatively and repeatedly lying about what happened at Hickory

Ground. It would have been unthinkable to the Plaintiffs, including Mekko Thompson, that the

Individual Defendants would commit such a sacrilege against the ancestors of any people or the

desecration of any people’s hallowed ground.

          229.   The Muscogee (Creek) Nation trusted Poarch and Poarch’s leadership, who claim

to be Creek people, to understand the Muscogee (Creek) members’ religious and cultural duties to

their ancestors. Plaintiffs trusted Poarch to protect Hickory Ground forever, just as Poarch

promised to do. Instead, the Individual Defendants intentionally prevented Mekko Thompson, and

Plaintiffs generally, from fulfilling Plaintiffs’ duties to their deceased family members and sacred

grounds, and caused Mekko Thompson the irreparable anguish of knowing that the ancestors were

wrenched from what was intended to be their final resting places, disrespected, and grotesquely

mistreated.



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          230.   Martin Construction, having notice of the Hickory Ground Site’s religious and

cultural significance to Plaintiffs and to Mekko Thompson specifically through having been served

with Plaintiffs’ Complaint, see Dkt. Nos. 1 & 57, proceeded with construction on the Hickory

Ground Site.

          231.   On information and belief, Martin Construction desecrated Plaintiffs’ ancestors’

remains by dismembering them through removing and discarding soil—part of those ancestors’

bodies.

          232.   On information and belief, Martin Construction also failed to stop construction

even after cultural items were discovered, intentionally desecrating gravesites of extreme religious

and cultural importance to Plaintiffs.

          233.   The Individual Defendants’ and Martin Construction’s intentional, extreme, and

outrageous behavior caused Mekko Thompson emotional distress so severe that no reasonable

person should be expected to endure it. The harm and emotional distress from the Individual

Defendants’ wrongful actions is, and will be, continuing until such time as Poarch is required to

take appropriate remedial measures.

          234.   Plaintiffs do not seek monetary damages against any tribal or federal defendant in

his or her official capacity. Mekko Thompson seeks monetary damages against the Individual

Defendants in their individual capacities, and against Martin Construction, for the tort of outrage

that they personally committed against him.

          235.   This Court should order the Individual Defendants and Martin Construction to pay

damages to Mekko Thompson for the extreme emotional distress they have caused him to suffer.




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 OPERATIVE COUNTS IF THIS COURT RULES AGAINST PLAINTIFFS ON COUNT I

       236.    Counts V-IX of this Complaint present claims that are applicable if the Court

determines that the Department of the Interior had authority to, and properly did, take the Hickory

Ground Site into trust for Poarch.

           COUNT V: UNJUST ENRICHMENT (FEDERAL COMMON LAW)

       237.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       238.    Because the elements of unjust enrichment under both federal and Alabama

common law are substantially the same, Plaintiffs specifically incorporate the allegations in

Paragraphs 202 through 213 above without repeating them here.

         COUNT VI: PROMISSORY ESTOPPEL (FEDERAL COMMON LAW)

       239.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       240.    Because the elements of unjust enrichment under both federal and Alabama

common law are substantially the same, Plaintiffs specifically incorporate the allegations in

Paragraphs 215 through 220 above without repeating them here.

  COUNT VII: VIOLATION OF THE NATIVE AMERICAN GRAVES PROTECTION
                       AND REPATRIATION ACT

       241.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       242.    Enacted in 1990, NAGPRA safeguards the rights of Native Americans by

protecting tribal burial sites and rights to items of cultural and religious significance to Native

Americans. Cultural items protected under NAGPRA include Native American human remains,

funerary objects, sacred objects, and objects of cultural patrimony. 25 U.S.C. § 3001(3). NAGPRA


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was intended to protect the dignity of the human body after death by ensuring that Native American

graves and remains be treated with respect.

       243.    NAGPRA confers jurisdiction to federal courts over “any action brought by any

person alleging a violation of this Act.” 25 U.S.C. § 3013.

       244.    Under NAGPRA, the intentional removal or excavation of Native American

cultural items from Federal or tribal lands is permitted only if:

           a. Such items are excavated or removed pursuant to a permit issued under section

               470cc of Title 16, which states that, before any permit is issued, “any Indian tribe

               which may consider the site as having religious or cultural importance” be notified

               and meaningfully consulted if such issuance “may result in harm to, or destruction

               of, any religious or cultural site”;

           b. Such items are excavated or removed after consultation with or, in the case of tribal

               lands, consent of the appropriate Indian tribe under 25 U.S.C. § 3002(c), 43 C.F.R.

               § 10.5, 25 C.F.R. § 262.5(d) (providing that “[d]etermination as to which tribe is

               the appropriate tribe shall be made in accordance with § 262.8(a)”), and 25 C.F.R.

               § 262.8(a) (listing lineal descendants as having the highest priority);

           c. The custody (ownership and right of control) of the disposition of such items is

               compliant with the priority order provided in NAGPRA, 43 C.F.R. § 10.6; and

           d. Proof of consultation or consent is shown to the Federal agency official responsible

               for the issuance of the required permit.

25 U.S.C. § 3002(c); 43 C.F.R. §§ 10.3, 10.5, 10.6; 25 C.F.R. § 262.5(d); and 25 C.F.R. § 262.8(a).

       245.    Sections 5 and 7 of the NPS Agreement likewise require Poarch to consult with

Indian tribes on whose traditional lands the planned activity will occur, along with associated



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individuals and groups who would be affected by Poarch’s activity on such lands.

        246.    As a delegee of federal functions, Poarch and its officials performing the delegated

functions are federal actors, liable as federal officials.

        247.    The following paragraphs allege multiple independent violations of NAGPRA and

conduct which is not in accordance with law, and is arbitrary, capricious, and an abuse of discretion

under the Administrative Procedures Act, 5 U.S.C. § 706.

        248.    Neither Poarch nor the Federal Defendants followed any of the requirements listed

in Paragraph 244.

        249.    Likewise, Poarch violated the NPS Agreement by failing to consult with Plaintiffs

prior to authorizing excavations and construction on the Hickory Ground Site.

        250.    NAGPRA and its associated provisions in ARPA require consent from the

Muscogee (Creek) Nation, as parens patriae representative of the lineal descendants at the Site

and as the tribe with the closest cultural and religious connection to the Site, prior to excavation

of Native American cultural items from the Hickory Ground Site. See 25 C.F.R. § 262.5(d),

262.8(a).

        251.    As the traditional kinship system representative of lineal descendants of those

buried at the Hickory Ground Site, Mekko Thompson has the right to custody of the human

remains and associated funerary objects at the Hickory Ground Site. See 25 U.S.C. § 3002; 43

C.F.R. §§ 10.6, 10.14. As the tribe most closely culturally and religiously affiliated with the

Hickory Ground Site, the Muscogee (Creek) Nation has the right to custody over all other cultural

items at the Site. Id.; see infra Paragraphs 262-270.

        252.    In violation of NAGPRA and ARPA, neither Poarch nor the Federal Defendants

have given custody of (1) the human remains and funerary objects excavated at the Hickory



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Ground Site to Mekko Thompson; or of (2) the other cultural items found at the Site to the

Muscogee (Creek) Nation. 25 U.S.C. § 3002; 43 C.F.R. § 10.3; 25 C.F.R. § 262.5(d); 25 C.F.R.

§ 262.8(a).

       253.      The National Park Service also violated NAGPRA by failing to establish a

preservation program for the protection of historic properties that ensures that the agency’s

procedures for compliance with Section 106 of the NHPA “provide for the disposition of Native

American cultural items from Federal or tribal land in a manner consistent with section 3(c) of

[NAGPRA].” 25 U.S.C. § 3002(c).

       254.      No final inventory or report regarding the cultural items recovered at the Hickory

Ground Site has been prepared, nor was the Muscogee (Creek) Nation consulted regarding such

report, as required by NAGPRA.

       255.      Furthermore, on information and belief, Poarch and Martin Construction violated

NAGPRA by failing to follow its mandatory procedures regarding inadvertent discoveries of

cultural items. On information and belief, no report of such discoveries was made to the

appropriate officials, and even if there were such reports, Poarch and Martin Construction failed

to stop the construction activity and take reasonable steps to protect the cultural items before

resuming activity. See 25 U.S.C. § 3002(b)-(c) and 43 C.F.R. § 10.4.

       256.      Had Poarch and the Federal Defendants complied with the consultation

requirements of NAGPRA, they would have been informed that the Muscogee (Creek) religion

requires the following:

              a. That no destructive scientific study take place on the cultural items, as such testing

                 violates the Muscogee (Creek) religious beliefs that the dead should remain

                 undisturbed;



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           b. That, if disturbance is absolutely unavoidable, all parts of the human remains,

              including the surrounding soils, be removed and held together during excavation;

           c. That, if disturbance is absolutely unavoidable, the excavated remains and funerary

              objects be stored together in a certain fashion;

           d. That, if disturbance is absolutely unavoidable, Mekko Thompson, as religious and

              ceremonial leader of Hickory Ground, prescribe removal and reburial procedures

              that must be followed for the cultural items under Muscogee (Creek) religious

              protocol, including protocol for bundling of the remains and funerary objects;

           e. That, if disturbance is absolutely unavoidable, Mekko Thompson and other

              representatives of the Muscogee (Creek) Nation be present during handling of any

              remains or funerary objects, for any purpose, to ensure that such treatment

              conformed with, to the greatest extent possible, the Muscogee (Creek) religion.

       257.   Had Poarch and the Federal Defendants complied with NAGPRA, the Muscogee

(Creek) Nation would have refused consent for the excavation of the Hickory Ground Site.

       258.   Even if the Muscogee (Creek) Nation’s advance consent were not required prior to

any excavation and construction (it was), NAGPRA still required Poarch and the Federal

Defendants to meaningfully consult with the Muscogee (Creek) Nation prior to excavation or

construction. If Poarch and the Federal Defendants had consulted with Plaintiffs as they were

required to do under NAGPRA, they could have avoided tragedies such as the permanent

separation of body parts from the human remains of Plaintiffs’ deceased family members.

       259.   Further, if Poarch and Martin Construction had followed NAGPRA’s procedures

for inadvertent discoveries, further tragedies such as the permanent loss of remains and other

cultural items could have been avoided.



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       260.    NAGPRA gives this Court the “authority to issue such orders as may be necessary

to enforce” the statute. 25 U.S.C. § 3013.

       261.    To enforce the statute, this Court should issue an injunction requiring Poarch

Council Defendants, the PCI Gaming Authority Board Defendants, the Poarch THPO, and the

Federal Officer Defendants to obtain consent from the Muscogee (Creek) Nation for the excavation

and construction of the casino resort, and, if the Muscogee (Creek) Nation does not consent:

           a. Requiring the Poarch Council Defendants, Poarch THPO, and PCI Gaming

               Authority Board Defendants to undo, to the greatest extent possible, the

               unconsented-to actions and restore the Site to its prior condition, to the greatest

               extent possible;

           b. Requiring the Federal Officer Defendants and Auburn to make such approvals and

               take such actions as may be necessary to accomplish reversal of the unconsented-

               to actions and restoration of the Site;

           c. Requiring Poarch Council Defendants, the Poarch THPO, the PCI Gaming

               Authority Board Defendants, the Federal Officer Defendants, and Auburn to

               involve the Muscogee (Creek) Nation throughout this process, including abiding

               by the Muscogee (Creek) Nation’s instructions regarding how all cultural items

               should be handled at all stages of the process; and

           d. Ordering such relief against Martin Construction as may be appropriate given its

               violations of NAGPRA’s provisions regarding inadvertent discoveries and its

               continuation of construction despite Plaintiff’s lawsuit.




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COUNT VIII: PORTIONS OF NAGPRA AND ARPA, IF CONSTRUED IN A MANNER
  THAT RESULTS IN A SUBSTANTIAL BURDEN ON PLAINTIFFS’ RELIGION,
    VIOLATE THE FIRST AMENDMENT, THE RELIGIOUS LAND USE AND
   INSTITUTIONALIZED PERSONS ACT, AND THE RELIGIOUS FREEDOM
                         RESTORATION ACT

       262.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       263.    The First Amendment of the United States Constitution prohibits Congress from

making any law “respecting an establishment of religion, or prohibiting the free exercise thereof.”

       264.    Similarly, the Religious Land Use and Institutionalized Persons Act (“RLUIPA”)

prohibits the government from imposing or implementing “a land use regulation in a manner that

imposes a substantial burden on the religious exercise of a person, including a religious assembly

or institution, unless the government demonstrates that imposition of the burden on that person,

assembly, or institution (A) is in furtherance of a compelling governmental interest; and (B) is the

least restrictive means of furthering that compelling governmental interest.” 42 U.S.C.S. § 2000cc.

       265.    Likewise, the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb, et seq., was

enacted in 1993 and requires that federal governmental action that substantially burdens a

tribe’s religious practice or exercise must promote a compelling interest (rather than simply

having a rational basis). Its protections encompass tribal religious beliefs. See American Indian

Religious Freedom Act, 42 U.S.C. §§ 1996, et seq.

       266.    NAGPRA and related provisions in ARPA are laws specifically directed at religion

and religious practice, and establish rules governing whether intentional removal or excavation of

Native American cultural items from Federal or tribal lands can take place. If such excavation can

take place, NAGPRA establishes a priority preference regarding who should be given the

excavated cultural items.

       267.    Specifically, excavation of Native American cultural items from tribal lands is not
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permitted without the consent of the “appropriate Indian tribe.” See supra ¶ 244. If excavation is

allowed, NAGPRA provides that the cultural items be given to, in order of priority: first, the lineal

descendants; second, the tribal landowner (in the event lineal descendants cannot be ascertained);

third, the tribe who aboriginally occupied the subject lands; and fourth, the tribe with the “strongest

cultural relationship” with the cultural items.

        268.    As discussed in greater detail above, Plaintiffs owe a moral and religious duty to

their ancestors under Plaintiffs’ traditional religion to ensure protection of the graves, bodies, and

cultural items of the deceased. If those graves, bodies, or cultural items are disturbed, Plaintiffs

are required by their religion to bring such remains or items back to peace with the appropriate

religious protocol. Government action that does not allow them to do so forces them to choose

between either abandoning their religious beliefs or facing civil or criminal sanctions for fulfilling

their religious duty to their ancestors.

        269.    To the extent that the requirement of consent of the “appropriate Indian tribe” under

ARPA and the related provisions in NAGPRA are interpreted to allow any tribe other than the

Muscogee (Creek) Nation to provide consent for excavation or removal of cultural items with

respect to the Hickory Ground Site, (1) there is no compelling governmental interest, or even

rational basis, justifying the attendant burden on Plaintiffs’ religion, (2) the law does not use the

least restrictive means to further the governmental interest; and (3) these provisions violate the

First Amendment as applied to the Muscogee (Creek) Nation, and irreconcilably conflict with the

Religious Land Use and Institutionalized Persons Act and Religious Freedom Restoration Act.

        270.    To the extent that NAGPRA and the related provisions in ARPA are interpreted to

provide higher priority of ownership of the excavated cultural items in any entity other than Mekko

Thompson or the Muscogee (Creek) Nation, (1) there is no compelling governmental interest, or



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even rational basis, justifying the attendant burden on Plaintiffs’ religion, (2) 25 U.S.C. §

3002(a)(2) and associated provisions do not use the least restrictive means to further the

governmental interest; and (3) 25 U.S.C. § 3002(a)(2) and associated provisions (i) violate the First

Amendment as applied to Plaintiffs, who have an inviolable religious and cultural right to the

remains and other cultural items, and (ii) irreconcilably conflict with the Religious Land Use and

Institutionalized Persons Act and Religious Freedom Restoration Act.

 COUNT IX: VIOLATION OF THE ARCHEOLOGICAL RESOURCES PROTECTION
                               ACT

       271.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       272.    Under ARPA, “[n]o person may excavate, remove, damage, or otherwise alter or

deface, or attempt to excavate, remove, damage, or otherwise alter or deface any archaeological

resource located on public lands or Indian lands unless such activity is pursuant to a permit issued

under [16 U.S.C. § 470cc].” 16 U.S.C. § 470ee; see also 25 C.F.R. § 262.3(a).

       273.    16 U.S.C. § 470cc(c), 25 C.F.R. § 262.5, 25 C.F.R. § 262.7, and the permits

obtained by Auburn to excavate at the Hickory Ground Site require that, at least 30 days before

issuing the permit, the Federal land manager notify all Indian tribes which may consider the site

as having religious or cultural importance if the permit may result in harm to, or destruction of,

any religious or cultural site, as determined by the Federal land manager.

       274.    The following Paragraphs allege multiple independent violations of ARPA and

conduct which is not in accordance with law, and is arbitrary, capricious, and an abuse of discretion

under the Administrative Procedures Act, 5 U.S.C. § 706.

       275.    On information and belief, Poarch officials falsely represented that no religious or

cultural site would be harmed or destroyed by the proposed work at Hickory Ground, in violation


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of ARPA, 25 C.F.R. § 262.5(c); the NPS Agreement; and Poarch’s agreement to perpetually

preserve Hickory Ground.

        276.    ARPA also requires consent from the Muscogee (Creek) Nation, as parens patriae

of the lineal descendants of those buried at the Site and as the tribe with the closest cultural and

religious connection to the Site, prior to excavation of Native American cultural items from the

Hickory Ground Site. See 25 C.F.R. §§ 262.5(d), 262.8(a).

        277.    The Federal Defendants did not notify, consult with, or get consent from the

Muscogee (Creek) Nation prior to issuing the ARPA permits, and did not ensure Poarch notified,

consulted with, or obtained consent from the Muscogee (Creek) Nation, in violation of ARPA, the

permit conditions, the NPS Agreement, and the Federal Defendants’ trust responsibility to the

Muscogee (Creek) Nation.

        278.    Even if it were legal to issue such permits without the Muscogee (Creek) Nation’s

consent (it is not):

            a. Poarch did not meet the conditions precedent of those permits;

            b. The Bureau of Indian Affairs issued permits allowing excavation of Hickory

                Ground without verifying that the conditions precedent were met;

            c. Neither Poarch nor the Federal Defendants notified or consulted with the Muscogee

                (Creek) Nation to discuss its interests, including ways to avoid or mitigate potential

                harm or destruction, prior to the Bureau of Indian Affairs issuing the permits, in

                violation of ARPA;

            d. The activities pursuant to the permits were “inconsistent with a[] management

                plan”—specifically, the NPS Agreement and Poarch’s agreement to perpetually

                preserve the Hickory Ground Site;



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             e. Poarch failed to curate the archaeological resources in accordance with 36 C.F.R.

                § 79;

             f. The Bureau of Indian Affairs did not “ensure that the work was conducted in

                accordance with statutory and regulatory requirements and any terms and

                conditions stipulated in the permit.”

See Permit Conditions, supra Paragraph 108; 16 U.S.C. § 470cc(b)(4); 43 C.F.R. § 7.7; 25 U.S.C.

§ 3002(c).

       279.     Furthermore, on information and belief, Poarch (and/or Auburn at the behest of

Poarch) obtained some permits under section 470cc of Title 16, but such permits did not cover the

full time period during which the phase III excavations were performed under Poarch’s direction

on the Hickory Ground Site.

       280.     Thus, Poarch also violated ARPA by causing the excavation, removal, damage,

alteration and defacement of archaeological resources at the Hickory Ground Site without a valid

permit, as Poarch failed to meet the permit conditions precedent listed in Paragraph 108.

       281.     Because the above ARPA provisions are incorporated into NAGPRA, this Court

has the “authority to issue such orders as may be necessary to enforce” those provisions. 25 U.S.C.

§ 3013.

       282.     To enforce these provisions, this Court should issue an injunction requiring the

Poarch Council Defendants, the PCI Gaming Authority Board Defendants, the Poarch THPO, and

the Federal Officer Defendants to obtain consent from the Muscogee (Creek) Nation for the

excavation and construction of the casino resort, and, if the Muscogee (Creek) Nation does not

consent, issue an injunction:

             a. Requiring the Poarch Council Defendants, the PCI Gaming Authority Board



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               Defendants, and the Poarch THPO to undo, to the greatest extent possible, the

               unconsented-to actions and restore the Site to its prior condition, to the greatest

               extent possible; and

           b. Requiring the Federal Officer Defendants and Auburn to make such approvals and

               take such actions as may be necessary to facilitate reversal of the unconsented-to

               actions and restoration of the Site.

              OPERATIVE COUNTS REGARDLESS OF RULING ON COUNT I

       283.    Counts X through XI present claims that are applicable regardless of how the Court

rules on Count I, which relates to the authority of the Department of the Interior to take the Hickory

Ground Site into trust for Poarch.

   COUNT X: VIOLATION OF THE NATIONAL HISTORIC PRESERVATION ACT

       284.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       285.    The Hickory Ground Site is subject to protection under the NHPA because it is

listed as a historic property on the National Register of Historic Places.

       286.    On information and belief, the Hickory Ground Site is currently considered to

include both tribal land (reservation lands, 54 U.S.C. § 300319) and federally-controlled land (trust

land, 54 U.S.C. § 306101) as defined in the NHPA.

       287.    The Secretary of Interior and the National Park Service are responsible for

delegations of their historic preservation responsibilities, including consulting with tribes whose

aboriginal land may be affected by such delegation. 54 U.S.C. § 302702. Despite any such

delegation, the National Park Service and Bureau of Indian Affairs retain all non-delegable

responsibilities arising from the trust relationship between the United States and the Muscogee

(Creek) Nation. See 36 C.F.R. § 800.2(c)(2)(ii)(B)-(C).

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        288.   When the National Park Service delegates its authority, the delegee carries out the

delegated responsibilities on behalf of the National Park Service. Poarch’s assumption of

responsibility under the NHPA pursuant to federal law means that Poarch acts as a de facto

government agency with respect to the delegated responsibilities.

        289.   Poarch’s, the National Park Service’s, and the Bureau of Indian Affairs’

performance of (and failure to perform) their historic preservation responsibilities regarding the

Hickory Ground Site are an “undertaking” within the meaning of 54 U.S.C. § 300320.

           a. Poarch received federal financial assistance to carry out its historic preservation

               responsibilities. See, e.g., 2011 Preservation Grant Announcement, available at

               https://www.bia.gov/sites/bia.gov/files/assets/public/press_release/pdf/idc014222.

               pdf (awarding Poarch over $30,000).

           b. The excavation and construction at the Hickory Ground Site also required prior

               Bureau of Indian Affairs’ approval under ARPA, the excavation permit conditions,

               NAGPRA, and the trust responsibilities arising therefrom. Furthermore, the gaming

               at the Hickory Ground site required the approval of gaming ordinances by Interior—

               an approval that is dependent on the land validly being held in trust.

        290.   The following Paragraphs allege multiple independent violations of NHPA and

conduct which is not in accordance with law, and is arbitrary, capricious, and an abuse of discretion

under the Administrative Procedures Act, 5 U.S.C. § 706.

A.      Interior And Poarch Failed To Comply With Their Obligations To Meaningfully
        Consult With Plaintiffs.

        291.   The NHPA requires Interior to consult with “any Indian tribe … that attaches

religious and cultural significance to” a historic property. 54 U.S.C. § 302706.

        292.   This consultation duty extends through the entire NHPA Section 106 process. See

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36 C.F.R. §§ 800.2, 800.4(a)(4), 800.4(d)(2), 800.5(a), 800.5(d)(2), 800.6.

        293.   Interior never consulted with the Muscogee (Creek) Nation regarding the

excavation or construction of a casino resort on the Hickory Ground Site, or the reburial of the

human remains and associated funerary objects, in violation of the aforementioned provisions and

its trust responsibilities to the Muscogee (Creek) Nation.

        294.   The Federal Defendants and Poarch also failed to invite the Advisory Council on

Historic Preservation to participate in the Section 106 process regarding Poarch’s planned

activities prior to those activities being undertaken, as required by the NHPA.

        295.   Poarch did not consult with the Muscogee (Creek) Nation prior to authorizing the

phase III excavation; actively avoided consulting with the Muscogee (Creek) Nation regarding the

reburial of the human remains and associated funerary objects; and did not meaningfully consult

with the Muscogee (Creek) Nation regarding the construction of the casino resort, as Poarch made

no adjustments to its plans in response to the adverse effects the construction would clearly have

on the Hickory Ground Site.

        296.   The National Park Service has never consulted with the Muscogee (Creek) Nation

regarding the continued delegation to Poarch of historic preservation responsibilities, despite the

continuing threat to Muscogee (Creek) religious and cultural sites caused by the continuing

delegation. These failures violate the 54 U.S.C. §§ 302702 & 302706, the NPS Agreement, and

the National Park Service’s trust responsibilities to the Muscogee (Creek) Nation.

B.      Interior And Poarch Failed To Take Into Account The Effect On The Hickory
        Ground Site Of Allowing Excavation And Construction Of A Casino Resort, And
        Interior Failed To Take Into Account The Effect On The Hickory Ground Site Of
        Delegating Historic Preservation Responsibilities To Poarch.

        297.   The NHPA requires Interior to “take into account the effect of [any] undertaking”

on any National Register-listed site, in consultation with all tribes that “attach[] religious and

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cultural significance” to the site. 54 U.S.C. § 306108; see also 36 C.F.R. § 800.5.

       298.    Poarch is required to do the same under the NPS Agreement.

       299.    The Bureau of Indian Affairs did not take into account, or consult with the

Muscogee (Creek) Nation regarding, the effect of approving/licensing Poarch’s excavation of the

Hickory Ground Site before granting permits for the excavation, and did not take into account the

effect of Poarch’s construction of a casino resort over the Hickory Ground Site before approving

the gaming operation at the Site.

       300.    Poarch likewise did not take into account, or consult with the Muscogee (Creek)

Nation regarding, the effect of Poarch’s excavation of cultural resources and construction of a

casino resort over the Hickory Ground Site.

       301.    The National Park Service failed to take into account the effect of delegating

preservation responsibilities to Poarch on the Hickory Ground Site before executing such

delegation, and has failed to take into account the effect of continuing to delegate such

responsibilities after Poarch failed to comply with the NPS Agreement and other applicable law.

       302.    The National Park Service further violated the NPS Agreement and the NHPA by

failing to perform the required reviews of Poarch’s performance under the Agreement and by

failing to perform required reviews of the threats to the Hickory Ground Site. See NPS Agreement

Section 14; 54 U.S.C. §§ 302108.

       303.    Had the National Park Service timely performed evaluations of Poarch’s

compliance with the NPS Agreement, it would have “determine[d] that a major aspect of [the

tribal] program is not consistent with” the NHPA, obligating the Secretary to “disapprove the

program and suspend in whole or in part any contracts or cooperative agreements … until the

program is consistent with [the NHPA].” 54 U.S.C. § 302302; see also NPS Agreement § 15.



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C.      Interior and Poarch Failed To Seek Ways To Avoid, Minimize, Or Mitigate The
        Harm To The Hickory Ground Site.

        304.   36 C.F.R. § 800.6 required Interior and Poarch (through the NPS Agreement) “to

seek ways to avoid, minimize, or mitigate the adverse effects” of the casino project on the Site

through, in part, (1) consulting with the Muscogee (Creek) Nation and (2) inviting the Advisory

Council on Historic Preservation to participate in the Section 106 process.

        305.   The excavation of, and construction of a casino resort at, the Hickory Ground Site

and the reburial of excavated human remains and associated funerary objects had numerous

foreseeable adverse effects, including but not limited to violations of the Muscogee (Creek)

religion, physical destruction and desecration of part of a Muscogee (Creek) sacred site; a change

of the character of the property’s use or of physical features within the Site’s setting that contribute

to its historic significance; and introduction of visual, atmospheric, and audible elements that

diminish the integrity of the Site’s significant historic features. 36 C.F.R. § 800.5(a).

        306.   Neither Poarch nor Interior sought ways to avoid, minimize, or mitigate the adverse

effects to the Hickory Ground Site prior to commencement of:

               a. The phase III excavation;

               b. The reburial of human remains and associated funerary objects; or

               c. The construction on the Site.

        307.   No memorandum of agreement was executed or implemented with respect to the

Hickory Ground Site. 36 C.F.R. § 800.6.

        308.   Even if it were legal to excavate the Hickory Ground Site without the consent of

the Muscogee (Creek) Nation (it is not), the Poarch Council Defendants’, PCI Gaming Authority

Board Defendants’, and Martin Construction’s decision to proceed with the casino project without

first completing the required historic preservation review process foreclosed options that would

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provide greater—and crucial—protection to burials and the Site, including a no-build alternative

and alternative locations.

        309.   To the extent that Federal Defendants have concluded that any effects of the phase

III excavation, construction, or reburial would be acceptable or adequately mitigated, such

conclusion represents a final agency action that is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law” and thus a violation of the NHPA and the Administrative

Procedure Act. See 5 U.S.C. § 706(2).

D.      Poarch Violated Its Historic Preservation Responsibilities Under the NPS Agreement.

        310.   Poarch’s failure to notify and consult with Plaintiffs or take into account Plaintiffs’

views on its planned actions that would affect the traditional lands (i.e., the Hickory Ground Site)

of the Muscogee (Creek) Nation violated Poarch’s responsibilities under Section 7 of the NPS

Agreement.

        311.   Poarch’s failure to follow Section 106 of the NHPA in accordance with the

regulations codified at 36 C.F.R. § 800, including its failure to consult with the appropriate federal

agencies in accordance with Section 106, violated Poarch’s responsibilities under Sections 1(G)

and 5 of the NPS Agreement.

E.      Poarch’s And The Federal Defendants’ Violation Of Their Historic Preservation
        Responsibilities Has Caused Serious, Irreparable, And Ongoing Harm to Plaintiffs.

        312.   Had the Federal Defendants or Poarch timely consulted the Muscogee (Creek)

Nation regarding the planned activities at the Hickory Ground Site, destruction of a holy site of

cultural and religious significance to the Nation could have been avoided, or, even if the activities

had continued, Plaintiffs could have in the very least instructed the Federal Defendants and Poarch

regarding how to treat the cultural items excavated at the site to avoid further mistreatment of the

items in violation of the law and the Muscogee (Creek) religion.

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        313.    Had the Federal Defendants and Poarch timely involved the Advisory Council on

Historic Preservation prior to excavation and construction of a casino resort over the Hickory

Ground Site, the Advisory Council would have alerted the Federal Defendants and Poarch of the

dire effects of the planned undertaking on Hickory Ground and the necessity of consulting with

the Muscogee (Creek) Nation.

        314.    When the Advisory Council on Historic Preservation was finally notified of

Poarch’s excavation activities in 2006, it opined that the actions undertaken by Poarch had

“adversely affected the National Register-listed property,” and that “the archaeological surveys

and data recovery were not carried out in compliance with Section 106 of the NHPA.” Letter from

ACHP to National Indian Gaming Commission NEPA Compliance Officer, p. 1 (Nov. 14, 2006),

attached hereto as Exhibit Q.

        315.    The Advisory Council concluded that Section 106 had been violated because “there

was no Federal agency review of the archaeological investigations carried out by the Poarch Band

… [and] no consultation with any other Indian tribe, particularly the Muscogee Creek Nation. The

initial notification of the ACHP (see 36 CFR 800.6(a)(1)) did not occur until after the destruction

of the site. Furthermore, there is no indication that the public has been notified about the nature of

the undertaking and its effects on historic properties (36 CFR 800.3(e)).” Id. at 2. “Since the

Section 106 process must be initiated by a Federal agency prior to the initiation of project

activities, it is unclear why the applicant, a tribe with a tribal historic preservation office approved

by the National Park Service pursuant to Section 101(d)(2) of the NHPA, proceeded with project

planning and archaeological investigations.” Id. at 1 (emphasis added).

F.      The National Park Service Has Illegally Continued To Award Federal Preservation
        Funds to Poarch.

        316.    Section 110(k) of the NHPA prohibits a Federal agency from granting “assistance

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to an applicant who, with intent to avoid the requirements of Section 106, has intentionally

significantly adversely affected a historic property to which the grant would relate, or having legal

power to prevent it, has allowed such significant adverse effect to occur.” 36 C.F.R. § 800.9.

       317.    Poarch “intentionally significantly adversely” affected the Hickory Ground Site,

over which it was delegated federal historic preservation responsibilities, with intent to avoid the

requirements of Section 106, and had the legal power to prevent such adverse effects but instead

allowed the adverse effects to occur.

       318.    Interior has continued to award federal preservation grants to Poarch in violation of

Section 110(k) of the NHPA. See, e.g., 2019 Preservation Grant Announcement, available at

https://www.nps.gov/orgs/1207/shpo_thpo_2019.htm          (awarding     Poarch    $55,000);    2018

Preservation Grant Announcement, available at https://www.doi.gov/pressreleases/interior-and-

national-park-service-announce-more-60-million-historic-preservation (awarding Poarch over

$56,000);       2011        Preservation       Grant       Announcement,          available        at

https://www.bia.gov/sites/bia.gov/files/assets/public/press_release/pdf/idc014222.pdf (awarding

Poarch over $30,000).

       319.    This Court should order that the Federal Officer Defendants terminate their

delegation of historic preservation authority to Poarch and to cease awarding any historic

preservation grants to Poarch.

       320.    This Court should issue an injunction requiring the Poarch Council Defendants,

PCI Gaming Authority Board Defendants, Poarch THPO, and the Federal Officer Defendants to

comply with the NHPA and consult with the Muscogee (Creek) Nation to avoid or mitigate further

adverse effects to the Hickory Ground Site during restoration of the Site in accordance with the

requested relief in this Complaint.



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   COUNT XI: VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION ACT

       321.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       322.    The Religious Freedom Restoration Act, 42 U.S.C. § 2000bb, et seq., was enacted

in 1993 and requires that federal governmental action that substantially burdens a tribe’s

religious practice or exercise must promote a compelling interest (rather than simply having a

rational basis). Its protections encompass tribal religious beliefs. See American Indian Religious

Freedom Act, 42 U.S.C. §§ 1996, et seq.

       323.    Hickory Ground is a significant and sacred place to the Muscogee (Creek) Nation,

Hickory Ground Tribal Town, and Mekko George Thompson. Hickory Ground is a sacred site

unique to the Plaintiffs and the religious significance of it and the activities that occur there

cannot be replicated elsewhere.

       324.    Hickory Ground also is a significant and sacred place to Plaintiffs because the

remains of their ancestors were ceremonially buried there. The ceremonial ground located there

is regarded as a sacred place for prayer.

       325.    Under Plaintiffs’ religion, they owe a moral and religious duty to their ancestors to

care for the graves and bodies of the deceased. Living tribal members—descendants of the

deceased—will fail in that duty if they are not permitted to complete required religious protocol

and return the bodies of their ancestors, along with their funerary objects, to their intended final

resting places. Government action that does not allow them to fulfill this duty forces them to

choose between either abandoning their religious beliefs or facing civil or criminal sanctions for

fulfilling their religious duty to their ancestors. Indeed, when Muscogee (Creek) citizens and

Hickory Ground Tribal Town members tried to comply with their religious duties at the Hickory

Ground Site in 2013, they were arrested and charged with crimes. See, e.g., Casey Toner, Ancient
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Indian burial ground dispute at Wind Creek Casino set for Wednesday trial, AL.com, Jan. 14,

2015, available at https://www.al.com/news/2015/01/poarch_creek_muscogee_wind_cre.html.

       326.    Under Plaintiffs’ religion, their ancestors are not and will not be at peace unless

properly buried in accordance with Plaintiffs’ traditional religious protocol.

       327.    Under Plaintiffs’ religion, the ceremonial grounds cannot be entered or altered

without prior authorization and cleansing rituals. Poarch has allowed, and continues to allow,

access to the ceremonial grounds by unauthorized persons who desecrate the ceremonial grounds

by not following these rituals and by altering the grounds in violation of Plaintiffs’ religion.

       328.    It is sacrilegious in the Muscogee (Creek) traditional religion to have alcohol

anywhere near ceremonial grounds. In violation of this belief, the casino serves alcohol at all times

the casino is open, in close proximity to the ceremonial grounds. Indeed, the front page of the

Wind Creek Wetumpka site prominently features alcohol:




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Wind Creek Wetumpka site, https://windcreekwetumpka.com/ (last visited May 22, 2019).

       329.    Excavation and construction of the casino, buildings, parking lots, and other

facilities at Hickory Ground, and Poarch’s and the Federal Defendants’ exclusion of Plaintiffs

during the handling, treatment, and reburial of their ancestors’ remains and funerary objects,

substantially burden Plaintiffs’ exercise of their religious practices because these actions have,

and will continue to:

               a. Prevent Plaintiffs from fulfilling their ongoing religious obligations to their

                   ancestors to ensure that their deceased family members’ bodies are left at peace

                   in their original resting places and treated with respect and the proper religious

                   protocol;

               b. Actively desecrate the ceremonial grounds site and the bodies buried there by

                   leaving them where (1) persons unqualified and unauthorized to bury the bodies

                   failed to observe the required protocol and thus left the bodies perpetually

                   disturbed; and (2) prohibited substances and practices (such as the proximity of

                   alcohol, intoxicated patrons, and entrance into the ceremonial grounds by

                   unauthorized persons who have not performed the required rituals) continue to

                   desecrate the ceremonial grounds;

               c. Desecrate and damage a hallowed ground for practitioners of Muscogee

                   (Creek) traditional religion.

       330.    The above-listed actions will prevent Plaintiffs—absent acts of civil or criminal

disobedience—from exercising their religious obligations to their ancestors unless and until the

bodies and their associated funerary objects are placed back into their final resting places following

the proper religious protocol and the active desecration of the ceremonial grounds ceases.



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        331.    No compelling government interest makes destruction of the Hickory Ground Site

or continued operation of a third casino resort for Poarch necessary. The public interest, as

expressed in NAGPRA, ARPA, the NHPA, the ARPA permit conditions, the NPS Agreement, is

to preserve sites of historic, cultural, and religious importance, with paramount importance placed

on consultation with affected tribes. Especially here, where Poarch’s own promises to the

Muscogee (Creek) Nation, the federal government and the public at large indicated that Poarch

and the federal government knew the religious and cultural importance of Hickory Ground to

Plaintiffs and indicated that Poarch had no plans to ever build a commercial development on the

Hickory Ground Site (and instead acquired the Site to prevent this), there is no indicia that there

is any public interest in having a commercial development at the Site.

        332.    The federal government has at its disposal other, less restrictive means to serve any

compelling interest it has while permitting Plaintiffs’ to fulfill their religious duties.

        333.    The Federal Defendants and Poarch have substantially burdened Plaintiffs’

religious freedoms by preventing them from fulfilling their religious duties to their ancestors and

by illegally allowing excavation and construction of a casino resort over a large portion of a sacred

site of critical religious importance to the Plaintiffs.

        334.    This Court should order that the Federal Officer Defendants, Poarch Council

Defendants, PCI Gaming Authority Board Defendants, and the Poarch THPO cease preventing

Plaintiffs from fulfilling their religious obligations. Specifically, this Court should order that the

Poarch Council Defendants, PCI Gaming Authority Board Defendants, and the Poarch THPO cause

the Hickory Ground Site to be restored, to the greatest extent possible, to the condition it was in

prior to the phase III excavation, construction, and reburial, and that the Federal Officer Defendants

and Auburn take the necessary actions to facilitate this process.



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                                     PRAYER FOR RELIEF

       WHEREFORE, incorporating, restating, and re-alleging all preceding Paragraphs, the

Plaintiffs respectfully request that this Court:

           (a) Enter a judgment declaring that Interior lacked authority to take the Hickory

               Ground Site into trust for Poarch, and an order in the nature of mandamus requiring

               that Secretary Bernhardt take the Hickory Ground Site out of trust;

           (b) If this Court enters the judgment and order described in Paragraph (a):

                   i.   Enter a judgment declaring that Poarch should be held to its promises to

                        perpetually preserve the Hickory Ground Site under the Alabama common

                        law doctrines of unjust enrichment and promissory estoppel;

                  ii.   Enter an order imposing a remedy of constructive trust over the Hickory

                        Ground Site as relief for Poarch’s breach of its promises to the Muscogee

                        (Creek) Nation;

                 iii.   Enter a judgment declaring that the Individual Defendants’ and Martin

                        Construction’s actions constituted outrage, and an order awarding

                        appropriate monetary damages to Mekko Thompson;

                 iv.    Enter a judgment declaring that Poarch violated the NHPA and the NPS

                        Agreement;

                  v.    Enter an order in the nature of mandamus requiring Poarch Council

                        Defendants, PCI Gaming Authority Board Defendants, and the Poarch

                        THPO to abide by the NHPA with respect to the Hickory Ground Site;

                 vi.    Enter an order in the nature of mandamus requiring that Federal Officer

                        Defendants comply with the NHPA by terminating any delegations of

                        historic preservation authority to Poarch and ceasing awarding federal
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                 preservation grants to Poarch.

      (c) In the alternative, if this Court does not enter the judgment and order described in

         Paragraph (a), it should:

            i.   Enter a judgment declaring that Poarch should be held to its promises to

                 perpetually preserve the Hickory Ground Site under the federal common

                 law doctrines of unjust enrichment and promissory estoppel;

           ii.   Enter an order in the nature of mandamus requiring Poarch Council

                 Defendants, PCI Gaming Authority Board Defendants, and the Poarch

                 THPO to cause the Hickory Ground Site to be protected perpetually in

                 accordance with its promises to the Muscogee (Creek) Nation, including

                 through restoration of the property, to the greatest extent possible, to its pre-

                 excavation and pre-construction condition, and requiring the Federal

                 Officer Defendants to take any necessary actions to implement these

                 remedies;

          iii.   Enter a judgment declaring that Poarch Council Defendants, PCI Gaming

                 Authority Board Defendants, the Poarch THPO, and the Federal Defendants

                 violated NAGPRA, ARPA, the NHPA, RFRA, and the NPS Agreement;

                 and that, with respect to Federal Defendants and Poarch representatives

                 acting as federal officers under the NPS Agreement, their actions violated

                 the Administrative Procedures Act;

           iv.   Enter an order in the nature of mandamus requiring Poarch Council

                 Defendants, PCI Gaming Authority Board Defendants, the Poarch THPO,

                 and the Federal Officer Defendants to abide by NAGPRA, ARPA, the



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                NHPA, RFRA, and the NPS Agreement in the future with respect to the

                Hickory Ground Site;

           v.   Enter an order in the nature of mandamus requiring that Federal Officer

                Defendants comply with the NHPA by terminating any delegations of

                historic preservation authority to Poarch and ceasing awarding federal

                preservation grants to Poarch;

          vi.   Enter a judgment declaring that Martin Construction violated NAGPRA’s

                provisions regarding inadvertent discovery of cultural items, and an order

                awarding such relief against Martin Construction as may be appropriate

                given its violations of NAGPRA and its continuation of construction despite

                Plaintiffs’ lawsuit.

      (d) Whether or not the Court enters an order and judgment consistent with that

         described in Paragraphs (b) or (c) above, the Court should also:

           i.   issue a Permanent Injunction enjoining Poarch Council Defendants, PCI

                Gaming Authority Board Defendants, the Poarch THPO, and the Federal

                Officer Defendants from substantially burdening Plaintiffs’ religious

                exercise by undertaking or providing assistance for any further ground

                disturbing, clearing, grading, leveling, or construction activity at the

                Hickory Ground Site, except that required to comply with (ii) below;

          ii.   Issue a Permanent Injunction ordering the Poarch Council Defendants, PCI

                Gaming Authority Board Defendants, and the Poarch THPO to cause the

                Hickory Ground Site to be returned to the condition it was in prior to

                construction of the casino resort and the phase III excavation, including



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                    returning the excavated cultural items to their original burial locations;

                    requiring Poarch to consult with and involve the Plaintiffs before, during,

                    and after this process to ensure the proper processes are followed; and

                    requiring the Federal Officer Defendants and Auburn to fully cooperate to

                    facilitate this process, including making the necessary approvals, returning

                    any human remains and associated funerary objects to Mekko Thompson,

                    returning any other cultural items to the Muscogee (Creek) Nation for

                    reburial in accordance with the Muscogee (Creek) culture and religious

                    protocols, and completing the archaeological report regarding the phase III

                    excavation;

             iii.   Order all Defendants except Auburn to pay for Plaintiffs’ reasonable

                    attorney’s fees and costs for prosecuting this action;

             iv.    Permit amendment of the pleadings pursuant to Fed. R. Civ. P. 15(b) and

                    54; and

              v.    Order such further relief as allowed under Fed. R. Civ. P. 54(c) and as this

                    Court may deem just and equitable.

     DATED this 5th day of June, 2019.

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